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                                                                    Page 1

 1              IN RE NATIONAL PRESCRIPTION OPIATE LITIGATION
                                        MDL No. 2804
 2                                Case No. 17-md-2804
 3                                     THIS RELATES TO:
 4
 5             CITY OF CLEVELAND, OHIO, ETAL VS. PURDUE PHARMA L.P.
 6                             ET AL CASE NO. 18-OP-45132
 7
 8                 THE COUNTY OF CUYAHOGA, OHIO, ET AL VS. PURDUE
 9                      PHARMA L.P., ET AL CASE NO. 18-OP-45090
10
11              THE COUNTY OF SUMMIT, OHIO, ET AL VS. PURDUE PHARMA
12                             L.P., ET AL CASE NO. 17-OP-45004
13
14
15                                 VIDEO DEPOSITION OF
16
17                                      MAGGIE KEENAN
18
19
20                                     JANUARY 18, 2018
21
22              DEPOSITION HELD AT CLIMACO, WLICOX, PECA & GAROFOLI
23                                   55 PUBLIC SQUARE
24
25                                 CLEVELAND, OH 44113

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                                                       Page 2                                              Page 4
    1                                                            1           APPEARANCES CONTINUED
    2               APPEARANCES                                  2
    3                                                            3   Mr. David Haller
    4   Mr. J. Andrew Keyes, Mr. Paul Boehm & Ms. Melinda        4   Covington & Burling
    5   Johnson                                                  5   620 Eighth Avenue
    6   William & Connolly, LLP                                  6   New York, NY 10018
    7   725 12th Street, N.W.                                    7   (212) 841-1000
    8   Washington, D.C. 20005                                   8   For McKesson
    9   (202) 434-5584                                           9
   10   For Cardinal Health                                     10   Ms. Monique Hannam (By phone)
   11                                                           11   Barnes & Thornburg
   12   Mr. Salvatore C. Badala                                 12   11 South Meridian Street
   13   Napoli Shkolnik, Pllc                                   13   Indianapolis, IN 46204
   14   400 Broadhollow Road, Suite 305                         14   (317) 231-7776
   15   Melville, NY 11747                                      15   For HD Smith
   16   (631) 224-1133                                          16
   17   For Cuyahoga County                                     17   Mr. Kenneth Prabucki (By phone)
   18                                                           18   Baker Hostetler
   19   Mr. Frank L. Gallucci, III                              19   127 Public Square, Suite 2000
   20   Plevin Gallucci                                         20   Cleveland, OH 44114
   21   55 Public Square, Suite 2222                            21   (216) 861-7718
   22   Cleveland, OH 44113                                     22   For Endo Pharmaceutical
   23   (216) 863-0804                                          23
   24   For Cuyahoga County                                     24
   25                                                           25
                                                       Page 3                                              Page 5
    1              APPEARANCES CONTINUED                         1           APPEARANCES CONTINUED
    2                                                            2
    3   Ms. Maria Fleming                                        3   Mr. Steven Boranian (By phone)
    4   Napoli Shkolnik                                          4   Reed Smith
    5   600 Superior Avenue East, Suite 1300                     5   101 Second Street, Suite 1800
    6   Cleveland, OH 44114                                      6   San Francisco, CA 94105
    7   (212) 397-1000                                           7   (415) 543-8700
    8   For Cuyahoga County                                      8   For AmeriscourceBergen
    9                                                            9
   10   Ms. Sarah Conway                                        10   THE VIDEOGRAPHER:
   11   Jones Day                                               11     Mr. John Stringer
   12   555 South Flower Street                                 12
   13   Los Angeles, CA 90071                                   13
   14   (213) 489-393                                           14
   15   For Wal-mart                                            15
   16                                                           16
   17   Mr. Justin E. Rice                                      17
   18   Tucker Ellis                                            18
   19   950 Main Avenue, Suite 1100                             19
   20   Cleveland, OH 44113                                     20
   21   (216) 696-3670                                          21
   22   For Janssen and Johnson and Johnson                     22
   23                                                           23
   24                                                           24
   25                                                           25
                                                                                                  2 (Pages 2 - 5)
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                                                        Page 6                                                        Page 8
    1                INDEX                                        1   plaintiff Cuyahoga County.
    2                     PAGE                                    2           MR. KEYES: Will counsel please enter
    3           EXAMINATION                                       3   their appearances?
    4   QUESTIONS BY MR. KEYES                     8              4           MS. HANNAM: Monique Hannam Barnes &
    5   QUESTIONS BY MR. BADALA                    184            5   Thornburg for HD Smith.
    6                                                             6           MR. PRABUCKI: Kenneth Prabucki of Baker
    7                EXHIBITS                                     7   Hostetler representing the Endo defendant.
    8   Deposition Exhibit 1 notice          9                    8           MR. BORANIAN: Steven Boranian from Reed
    9   Deposition Exhibit 2 binder          68                   9   Smith for defendant AmerisourceBergan.
   10   Deposition Exhibit 3 supplemental response 78            10           MR. BADALA: Is that everyone on the
   11                                                            11   phone? We just have a standing objection for the
   12                                                            12   record for the involvement of Baker Hostetler in
   13                                                            13   this litigation as well as Miss Cal Rendo.
   14                                                            14                 EXAMINATION
   15                                                            15   BY MR. KEYES:
   16                                                            16       Q Good morning, Miss. Keenan. My name is
   17                                                            17   Andrew Keyes. Is it your understanding that you are
   18                                                            18   testifying today as a corporate representative for
   19                                                            19   Cuyahoga County?
   20                                                            20       A Yes.
   21                                                            21       Q And is it your understanding that as the
   22                                                            22   court representative, you are testifying today not
   23                                                            23   as an individual, but as Cuyahoga County itself?
   24                                                            24       A Yes.
   25                                                            25       Q And is it your understanding that as the
                                                        Page 7                                                        Page 9
    1                VIDEO DEPOSITION                             1   corporate representative for the topics for which
    2          THE VIDEOGRAPHER: It is 9:09 a.m. We're            2   you have been designated. You will be testifying as
    3   on the record. Would the court reporter please            3   Cuyahoga County based on the information known and
    4   swear in the witness.                                     4   the information reasonably available to Cuyahoga
    5                 MAGGIE KEENAN,                              5   County?
    6   of lawful age, having been first duly sworn to            6       A Yes.
    7   testify the truth, the whole truth, and                   7       Q Showing you what has been marked as Keenan
    8   nothing but the truth in the case aforesaid,              8   30 (b)(6) Exhibit No. 1.
    9   deposes and says in reply to oral                         9                (Deposition Exhibit Number 1
   10   interrogatories, propounded as follows, to-wit:          10                marked for identification.)
   11          MR. KEYES: Andrew Keyes with Williams &           11       Q (Mr. Keyes) Do you have that in front of
   12   Connolly for Cardinal Health.                            12   you?
   13          MS. JOHNSON: Melinda Johnson also with            13       A Yes.
   14   Williams & Connolly for Cardinal Health.                 14       Q And this is titled, The Second Amended
   15          MS. CONWAY: Sarah Conway for Jones Day do         15   Notice of Videotaped Deposition of Maggie Keenan and
   16   for Wal-Mart.                                            16   it continues for two pages. If you turn to the
   17          MR. RICE: Justin Rice from Tucker Ellis           17   second page towards the top, do you see that you
   18   on behalf of Johnson and Johnson and Janssen             18   have been designated as the corporate representative
   19          MR. HALLER: David Haller of Covington and         19   for Cuyahoga County on topics 11, 21, 22, 37 and 38
   20   Burling for McKesson.                                    20   of defendants original 30 (b)(6) notice?
   21          MS. FLEMING: Maria Fleming of Napoli              21       A Yes.
   22   Shkolnik on behalf of the plaintiff.                     22       Q Are you prepared then to testify today as
   23          MR. GALLUCCI: Frank Gallucci of Plevin            23   the corporate representative for Cuyahoga County on
   24   Gallucci for plaintiff Cuyahoga County.                  24   those topics?
   25          MR. BADALA: Salvatore Badala on behalf of         25       A Yes, I am.

                                                                                                           3 (Pages 6 - 9)
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                                                        Page 10                                                    Page 12
    1       Q Did you prepare for today's deposition?              1      A Yesterday.
    2       A Yes, I did.                                          2      Q Who did you meet with?
    3       Q What did you do to prepare?                          3      A Sal Badala and Frank Gallucci.
    4       A Um, I reviewed county budget documents.              4      Q Did you meet with any other lawyers in
    5   So budget plans that have been prepared for previous       5   that meeting?
    6   years recommended budget books.                            6      A No.
    7               I communicated with the Office of              7      Q Did you meet with anyone else besides
    8   Budget Management where I work has seven analysts          8   Mr. Badala and Mr. Gallucci in that meeting?
    9   who have a collection of agencies that they work           9      A No.
   10   for. So I communicated with all of our analysts           10      Q How long was that meeting?
   11   just to review revenue, budgets, expenses related to      11      A About five hours.
   12   county agencies and departments.                          12      Q Where was the meeting?
   13               I did confer with the county fiscal           13      A In the offices of Gallucci and Plevin,
   14   officer to make sure that his understanding was the       14   Plevin and Gallucci, upstairs.
   15   same as mine.                                             15      Q Did you review documents during that
   16               And I reached out to some of the              16   meeting?
   17   agencies directly, Felicia Harrison who is the            17      A Again, we reviewed the plaintiff's
   18   finance director at the ADAMHS Board just to talk a       18   response to Interrogatory Number 18. And, um, just
   19   little bit about their revenue sources.                   19   reviewing the topics that might be covered today.
   20               That's what I can think of off the            20      Q Anything else?
   21   top of my head. And I, of course, did meet with the       21      A No.
   22   county's attorneys.                                       22      Q So did you review the same material in
   23       Q How many times did you meet with the                23   both the first prep meeting and the second prep
   24   counties attorneys to prepare for today's                 24   meeting?
   25   deposition?                                               25      A Yes.
                                                        Page 11                                                    Page 13
    1       A I believe we had two in person meetings              1      Q Did you have any other prep meetings with
    2   and then we communicated via phone probably five or        2   the lawyers to get ready for today's deposition?
    3   six times.                                                 3      A Not in person meetings. We have had phone
    4       Q Who did you meet with the first time?                4   calls.
    5       A Sal Badala.                                          5      Q And you said earlier you had phone calls
    6       Q Any other lawyers?                                   6   maybe five or six times?
    7       A No, not the first meeting.                           7      A Yes.
    8       Q And did anyone else besides you and                  8      Q When was the first of those five or six
    9   Mr. Badala participate in that first meeting?              9   times?
   10       A No.                                                 10      A I can't recall.
   11       Q How long was that meeting?                          11      Q When was the most recent of those five or
   12       A I can't recall. I can't recall, sorry.              12   six times?
   13       Q Can you give me your best estimate how              13      A Um, I believe we talked Monday, but I
   14   long that first prep meeting was with Mr. Badala?         14   honestly can't recall, this past Monday.
   15       A Under two hours.                                    15      Q And did you review documents during those
   16       Q Did you review documents in that meeting?           16   phone conversations with the lawyers?
   17       A I reviewed the county's response to                 17      A There was at least one phone call where we
   18   Interrogatory Number 18. I reviewed the topics that       18   reviewed the same documents that I've already
   19   I was assigned for this deposition. You know, each        19   identified.
   20   one of these 11, 21, 22, just to review what was          20      Q The plaintiff's response to Interrogatory
   21   going to be discussed.                                    21   Number 18?
   22       Q Did you review any other documents in that          22      A That's correct.
   23   first prep meeting with Mr. Badala?                       23      Q And the topics that were assigned to you?
   24       A I don't believe so.                                 24      A That's correct.
   25       Q When was your second prep meeting?                  25      Q Anything else?

                                                                                                      4 (Pages 10 - 13)
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                                                     Page 14                                                         Page 16
    1       A No.                                               1       Q What is the difference between budget plan
    2       Q You said that part of your preparation for        2   and a recommended budget book?
    3   today's deposition was to review budget documents.      3       A So when the county system under our
    4   Which specific budget documents did you review?         4   charter government, the county executive recommends
    5       A Um, I know I was looking at 2017 and 2018.        5   a budget to the county council. It is not unlike
    6   But the other years that I looked at I can't recall     6   the state, how the state or federal government
    7   which specific years.                                   7   operates.
    8       Q Did you look at budget documents for years        8              The Office of Budget Management,
    9   prior to 2017?                                          9   where I work, we will put together a comprehensive
   10       A I did.                                           10   rather voluminous book that details the county's
   11       Q Which ones?                                      11   recommended budget.
   12       A I can't recall which specific years.             12              So we include pages specific to all
   13       Q How far back did you look at budget              13   agencies and departments so that we can provide the
   14   documents?                                             14   council and the public some detail on how the county
   15       A 2010.                                            15   is spending its resources.
   16       Q How many different years worth of budget         16              That budget recommended book is
   17   documents did you the review?                          17   presented to the council, but then after county
   18       A I'm sorry, I can't recall.                       18   council holds its hearings, they invariably will
   19       Q Why did you review these budget documents?       19   make amendments to the budget. They adopt a plan
   20       A Um, because one of the topics, well, two         20   that differs somewhat from the recommended budget
   21   of the topics that I'm talking about, were likely to   21   book. So we will create a new book that is the
   22   talk about today are revenue, sources of revenue and   22   budget plan, which will detail what has been adopted
   23   the county's overall budget.                           23   by county council.
   24             I'm assuming you are aware we                24              The recommended budget book you
   25   provided the budget documents. The county has a        25   cannot rely on as the actual budget. Parts of it
                                                     Page 15                                                         Page 17
    1   very large annual budget, it is about $2 billion.       1   will remain the same, but not all of it. It just
    2   So I try to keep it all straight in my head of          2   depends on what council decides to amend.
    3   course, but I just wanted to look at a couple of        3       Q Is the Cuyahoga County for each year
    4   prior year documents to refresh my memory.              4   reflected in the budget plan document?
    5       Q Why did you look at 2010 budget documents         5       A Yes, it is.
    6   in particular?                                          6       Q And the budget plan document is the actual
    7       A I don't believe I said I look specifically        7   budget that has been approved by city council?
    8   at 2010, I just know that I didn't look at anything     8       A County council.
    9   older than 2010.                                        9       Q County council.
   10       Q Did you look at 2010?                            10       A Yes.
   11       A I can't recall, I'm sorry.                       11       Q And that typically has differences from
   12       Q Why didn't you look at any budget                12   the budget book that has been recommended by the
   13   documents prior to 2010?                               13   county executive?
   14       A I don't know, time.                              14          MR. BADALA: Objection to form.
   15       Q How much time did you spend reviewing            15       Q (Mr. Keyes) Correct?
   16   these budget documents?                                16       A That is correct.
   17       A Collectively probably about two hours.           17       Q Does the county put together each year a
   18       Q And we have been talking about budget            18   document that describes the differences between the
   19   documents, earlier I believe you said you looked at    19   county executive's recommended budget and the final
   20   the budget plans and then the recommended budget       20   budget plan that has been adopted by the county
   21   books?                                                 21   council?
   22       A Uh-huh.                                          22       A The county will prepare a, usually it is a
   23       Q Is that what you meant by the budget             23   memo that outlines the differences between the
   24   documents that you reviewed?                           24   recommended budget and the final budgets.
   25       A That's correct.                                  25             That memo is prepared by me and it is

                                                                                                       5 (Pages 14 - 17)
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                                                        Page 18                                                         Page 20
    1   submitted to county council when we submit to them         1   requested that any changes be made to your memo
    2   the budget that they will ultimately adopt.                2   before it is submitted to the county council?
    3              So the county council will say we               3       A Yes.
    4   want to change this agency, change this agency, and        4       Q Can you describe for me the circumstances
    5   then it ultimately does come back to the office of         5   when Mr. Budish has requested changes to your cover
    6   budget management to physically make those changes,        6   memo before it is submitted to county council?
    7   prepare the new documents. I will submit a cover           7       A The county executive never makes
    8   memo that says here is what differs.                       8   substantive changes, he is quite a stickler for
    9              We do not provide a book as                     9   grammar.
   10   comprehensive as, for example, the State of Ohio,         10              So he will sometimes place in a coma
   11   which also has a very voluminous document that            11   or words. So, for example, if I write an agency is
   12   detail the changes. We don't do that, I summarize         12   getting more money, development is getting $100,000
   13   it.                                                       13   to make loans, the county executive might add
   14       Q You said you prepare this memo. Do you              14   because this is the county executive's priority. He
   15   have others who assist you in the preparation of          15   will add statements like that that aligns with the
   16   this memo that outlines the changes from the county       16   strategic plan.
   17   executive's recommended budget book to the final          17              They're usually a particular cosmetic
   18   budget plan that is being submitted to the county         18   changes.
   19   council for approval?                                     19       Q You said earlier that to prepare for
   20       A So as I mentioned previously, we do have            20   today's deposition you communicated with the seven
   21   seven analysts that work in the office of budget          21   analysts in the office of budget and management?
   22   management. They assist me by way of providing data       22       A That's correct.
   23   and if the numbers have changed and I'm unaware of        23       Q Did you speak with all seven of them?
   24   why the number have changed. They will tell me oh,        24       A Yes.
   25   it was this, but I write the memo myself.                 25       Q Okay. And what was your purpose in
                                                        Page 19                                                         Page 21
    1      Q Is there a process by which the county                1   reaching out to the seven analysts?
    2   executive, or anyone on the county executive's             2      A To, I conferred with them to receive
    3   behalf, reviews and approves your memo before it           3   confirmation that my understanding of budget revenue
    4   submits to county council?                                 4   was accurate.
    5          MR. BADALA: Objection to form.                      5      Q Did you speak with any of the analysts
    6      A Absolutely.                                           6   about specific expenses incurred by Cuyahoga County
    7      Q (Mr. Keyes) What is that process?                     7   because of the opioid problem?
    8      A I prepare the memo and any supporting                 8          MR. BADALA: Objection to form.
    9   documents and I will always submit that to Dennis          9      A Are you asking solely in preparation for
   10   Kennedy who is my supervisor in the county fiscal         10   this deposition?
   11   office, as well as Armond Budish, the county              11      Q (Mr. Keyes) Yes.
   12   executive for review and approval before I send to        12      A No, I did not.
   13   council.                                                  13      Q Did you speak with any of the analysts
   14      Q Has that been your practice every year?              14   about the categories of expenses incurred by
   15      A Yes, it has absolutely.                              15   Cuyahoga County because of the opioid problem?
   16      Q Are there occasions when Mr. Kennedy will            16          MR. BADALA: Objection to form.
   17   requests that you make changes to the cover memo          17      A No, I did not.
   18   before it is submitted to the county council?             18      Q (Mr. Keyes) Did you speak with any of the
   19      A No.                                                  19   analysts about any impact that the opioid problem
   20      Q There has never been a time where                    20   had on Cuyahoga County's revenues?
   21   Mr. Kennedy has requested that a change be made to        21      A No, I did not.
   22   the cover memo before it is submitted to the county       22      Q Did you speak with any of the analysts
   23   council?                                                  23   about any particular expenditures that related to
   24      A No.                                                  24   opioid use, misuse, abuse, addiction or deaths?
   25      Q Has there been a time where Mr. Budish has           25          MR. BADALA: Objection to form.

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                                                       Page 22                                                      Page 24
    1      A No.                                                  1             The third section are county's record
    2      Q (Mr. Keyes) How much time did you spend              2   retention policies specific to each agency.
    3   speaking with these seven analysts?                       3             The fourth section is an excerpt from
    4      A Collectively, probably about an hour.                4   the complaint that the county filed.
    5      Q And that's an hour for your conversations            5             The fifth is my Notice of Deposition.
    6   with all seven of them?                                   6   This is what you provided me also this morning.
    7      A That's correct.                                      7             And the sixth section identifies the
    8      Q Did you speak with the seven analysts                8   topics that I am covering today.
    9   together at the same time or individually?                9      Q Is there anything else in the binder?
   10      A Individually.                                       10      A No, sir.
   11      Q Can you review with me the names of the             11      Q Are there any handwritten notes on any of
   12   seven analysts with whom you spoke to prepare for        12   the documents in the binder?
   13   today's deposition?                                      13      A No.
   14      A Absolutely. Anthony Henderson, Yvonne               14      Q You were explaining before the areas of
   15   Gibson, Chris Coston, Danielle Clark, Brian Witt,        15   responsibility for Mr. Henderson?
   16   Wendy Feinn, F-E-I-N-N and Greg Byer.                    16      A Yes.
   17      Q What is Anthony's Henderson area of                 17      Q You said Medical Examiner, Court of Common
   18   specialty?                                               18   Pleas, the Department of Development and Internal
   19      A Anthony's assigned agencies include the             19   Audit. Does he have any other areas of
   20   County Medical Examiner, the Court of Common Pleas,      20   responsibility as a budget analyst?
   21   the Department of Development, the Office of             21      A No.
   22   Internal Audit, and I believe that's it.                 22      Q The second person --
   23      Q You are reading from a particular                   23      A I'm sorry, Anthony also is our systems
   24   document?                                                24   administrator. So we have budget and reporting
   25      A I'm sorry, yes.                                     25   system that we use. The acronym is BRASS,
                                                       Page 23                                                      Page 25
    1       Q What is that document?                              1   B-R-A-S-S, and Anthony does maintain that for us.
    2      A I am looking at the county org chart, just           2      Q What do you mean he maintains BRASS?
    3   using this to make sure I'm covering all the              3      A So the county has a financial system, the
    4   agencies.                                                 4   acronym is FAMIS, F-A-M-I-S, and then we have BRASS,
    5      Q That's in a binder that you brought with             5   which is budget and reporting.
    6   you to today's deposition?                                6              We receive downloaded data FAMIS,
    7      A Yes, it is.                                          7   like actuals of revenue and expenditures that get
    8      Q Is that a set of materials that you put              8   exported into BRASS. Anthony manages those exports.
    9   together to assist you in offering testimony on           9   Every year BRASS has to be, we have to do like a
   10   these topics today?                                      10   rollover process, which he is doing probably as I
   11      A The county's attorneys put this together            11   speak, to close out the previous year and then
   12   for me, but these are documents that I requested to      12   establish the databases for the current year. He
   13   have available so that I could make sure that I'm        13   does all of that work for us.
   14   answering questions.                                     14              If we have any issues, if the system
   15      Q Did you review the material in the binder           15   goes down, it is not working like it is supposed to,
   16   to prepare for today's deposition?                       16   that is his area of responsibility.
   17      A Um, I did.                                          17      Q What are Yvonne Gibson's areas of
   18      Q Can you tell me what is in the binder?              18   responsibility as a budget analyst?
   19      A Absolutely. So there are six sections of            19      A Yvonne Gibson works with the Domestic
   20   this binder. The first section is, um, I'm sorry,        20   Relations Court, the Prosecutor's Office, the HHS
   21   the first section is the county's response to            21   Division of Job and Family Services, the HHS
   22   Interrogatory Number 18, and there are two related       22   Division of Child Support Services, the Department
   23   exhibits to that response.                               23   of Public Justice Services and Public Safety, and I
   24              The second section is the county org          24   believe that's it.
   25   chart.                                                   25      Q And if I ask you the same question for the

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    1   other five budget analysts namely, what is the area         1   subject.
    2   or areas of responsibility for each, would you also         2       Q Was it, did it have to do with budgeting?
    3   refer to that same work chart?                              3       A I can't recall.
    4      A I likely would, yes.                                   4       Q Did it have to do with revenues or
    5      Q Okay. You said you also spoke with                     5   expenditures?
    6   Mr. Kennedy to prepare for today's deposition. What         6          MR. BADALA: Objection to form.
    7   was your purpose in speaking with Mr. Kennedy?              7       A I can't recall.
    8      A Um, excuse me. So I just, I do all the                 8       Q (Mr. Keyes) Did it have to do with
    9   time anyway, would just run things by him to make           9   financial reporting?
   10   sure that my understanding is in line with his             10       A I can't recall.
   11   understanding. That I'm accurate, that I'm not             11       Q Did it have to do with any particular
   12   misunderstanding anything, misrepresenting anything.       12   agency or department?
   13      Q So how many times did you speak with                  13       A I can't recall.
   14   Mr. Kennedy then to run things by him and make sure        14       Q You can't recall any details?
   15   that you're understanding was in line with his             15       A No, I cannot.
   16   understanding in advance of today's deposition?            16       Q You do remember you spoke with him?
   17      A Specific to this deposition, I believe I              17       A Yes.
   18   only did that one time.                                    18       Q Okay. You said that as part of your
   19      Q When?                                                 19   preparation for today's deposition, you reached out
   20      A That I can't recall, I'm sorry.                       20   to agencies, did I get that right?
   21      Q Was it within the past week?                          21       A That's correct.
   22      A No.                                                   22       Q What agencies did you reach out to?
   23      Q Past two weeks?                                       23       A The ADAMHS Board, their business manager
   24      A Likely, but I can't say specifically.                 24   is Felicia Harrison.
   25      Q For how long did you speak with him?                  25       Q What other agencies did you reach out to?
                                                         Page 27                                                        Page 29
    1      A Ten minutes.                                           1      A I did talk to the sheriff's office. Their
    2      Q And what was the topic where you were                  2   business manager is Donna Kaleal, K-A-L-E-A-L.
    3   running things by him to make sure you're                   3      Q What other agencies did you reach out to
    4   understanding was in line with his understanding?           4   besides the ADAMHS Board and the sheriff's office?
    5      A I can't recall that, I'm sorry.                        5      A Those are the only two that I can recall
    6      Q You don't remember the topic?                          6   specifically that analysts likely would have reached
    7      A I don't.                                               7   out to some -- they may have reached out to some
    8      Q Can you provide any details at all about               8   agencies, but I don't know.
    9   your conversation with Mr. Kennedy that you had for         9      Q Was it your idea to reach out to the
   10   the purpose of preparing to testify today where you        10   ADAMHS Board and to the sheriff's office?
   11   wanted to make sure that your understanding was the        11      A It was.
   12   same as his understanding?                                 12      Q Or was that something you did at someone
   13      A I can't.                                              13   else's request?
   14      Q When you ran things by him, did he confirm            14      A No, that was my idea.
   15   that the two of you had the same understanding or          15      Q Why did you reach out to the ADAMHS Board?
   16   did he have a different understanding?                     16      A The ADAMHS Board is, they don't have the
   17      A He confirmed that we had the same                     17   same relationship to the county that the other
   18   understanding.                                             18   agencies and departments have. The office of budget
   19      Q Did you learn anything from Mr. Kennedy in            19   management doesn't, we don't really work with the
   20   this conversation?                                         20   ADAMHS Board because the county council does not
   21      A No.                                                   21   appropriate for the board.
   22      Q Okay. So you said he confirmed you had                22             Their board of directors has the
   23   the same understanding, same understanding of what?        23   authority to establish appropriation levels, they
   24      A Again, I can't recall the specifics of                24   get their authority directly from the State of Ohio.
   25   what we were talking about. I can't recall the             25   So we don't have to work with them as closely as we

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                                                       Page 30                                                         Page 32
    1   do because they're not part of our budget.                1      Q And you recall the email reporting that 60
    2              The county does give a subsidy to the          2   to 65 percent of the ADAMHS Board's revenue comes
    3   ADAMHS Board totally approximately $39 million a          3   from the county?
    4   year. So I have an analyst who is assigned to             4      A That's correct.
    5   ADAMHS Board to manage that subsidy. He will try to       5      Q And the remainder comes from Ohio and the
    6   stay on top of just basics of what's happening at         6   federal government?
    7   the ADAMHS Board, what their needs are, but we just       7      A Federal government/grants, but yes.
    8   don't follow them as closely.                             8      Q What else did this email from
    9              Most the other agencies I'm looking            9   Miss Harrison say or report?
   10   at their revenue and their expenses daily. I don't       10      A That was it.
   11   do that for ADAMHS. So I just wanted to double           11      Q And then did you look at any documents as
   12   check that I have the right understanding of where       12   you were speaking with Miss Harrison?
   13   they get their money from, how they're spending          13      A No.
   14   their money. I don't monitor them as closely as I        14      Q After your call with Miss Harrison, did
   15   do everybody else.                                       15   she send you any documents?
   16       Q Who is the budget analyst in your office           16      A No.
   17   who has the responsibility for the ADAMHS Board?         17      Q Did you send her any documents?
   18       A Greg Byer.                                         18      A No.
   19       Q You said you spoke with Felicia Harrison           19      Q So tell me what did you learn during this
   20   who business manager for the ADAMHS Board?               20   ten minute call with Miss Harrison to prepare for
   21       A Yes, she is, yes.                                  21   today's deposition?
   22       Q Did you speak with anyone else at the              22      A Um, that their funding is almost, with the
   23   ADAMHS Board to prepare for today's deposition?          23   exception of some grants, exclusively government
   24       A No.                                                24   funding and that the county makes up the majority of
   25       Q When did you speak with Felicia Harrison?          25   where they get their revenue. That's that
                                                       Page 31                                                         Page 33
    1       A I can't recall specifically. Within the             1   $39 million subsidy.
    2   last two weeks.                                           2       Q Did you learn any in the call with
    3       Q And did you speak with her in person or             3   Miss Harrison that went beyond what was in this
    4   speak with her over the phone?                            4   email that you had already received from her?
    5       A Phone.                                              5       A No.
    6       Q How long did you speak with her?                    6       Q And the 60 to 65 percent of its annual
    7       A Ten minutes.                                        7   revenue that comes from Cuyahoga County is typically
    8       Q Did you send her any documents in advance           8   around $39 million?
    9   of the call?                                              9       A It has been 39 million for the last
   10       A No, I did not.                                     10   several years, yes.
   11       Q Did she send you any documents in advance          11       Q And prior to the last several years?
   12   of the call?                                             12       A It was absolutely higher. So they had
   13       A Felicia sent an email to Greg Byer that            13   been in the $40 million range. We have been cutting
   14   was forwarded to me that identified their source of      14   budgets almost every year since 2008. But we do try
   15   revenue by percentage. So how much federal, how          15   to provide funding to the ADAMHS Board in light of
   16   much state, how much county.                             16   what their mission is.
   17       Q What were those percentages according to           17       Q What does the ADAMHS Board do with the
   18   the email from Miss Harrison?                            18   $39 million that Cuyahoga County provides on average
   19       A The county was within 60 to 65 percent. I          19   each year?
   20   don't recall the specific break out of the other         20       A The county subsidy is largely to cover the
   21   two.                                                     21   cost associated with treatment services for both
   22       Q So in this email from Miss Harrison it             22   mentally ill and individuals that are suffering from
   23   identified three sources of revenue. Cuyahoga            23   addiction who are under insured or uninsured. The
   24   County, Ohio and the federal government?                 24   county subsidy also covers Medicare match. So there
   25       A That's correct.                                    25   is a requirement if you are drawing down Medicaid

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                                                         Page 34                                                       Page 36
     1   dollars, to have a match and the county subsidy is         1   annual, annual plans, look backs so we will look at
     2   included in that, but largely it is their charity          2   those, we get them off their website, we'll ask
     3   care. Individuals who need behavior health services        3   them. But they don't submit as a matter of routine
     4   who don't have insurance, whose coverage doesn't           4   specific reports to the county.
     5   cover what they need will be covered by the subsidy.       5      Q (Mr. Keyes) If the county executive or
     6       Q How much of the $39 million on average is            6   the county council asked you what is Cuyahoga County
     7   attributable to the Medicaid match?                        7   getting for the $39 million it spends each year on
     8       A That I can't say specifically, but it                8   the ADAMHS budget, what would you do to answer that
     9   would be nominal at best.                                  9   question?
    10       Q And the remainder is then used by the               10          MR. BADALA: Objection to form and do you
    11   ADAMHS Board to cover the cost of treatment for           11   know what topic you are on right now?
    12   people who are mentally ill or who have addiction?        12          MR. KEYES: Damages.
    13       A That's correct.                                     13          MR. BADALA: Which topic specifically?
    14       Q Does the ADAMHS Board itself. I'm sorry,            14          MR. KEYES: 11.
    15   were you done?                                            15          MR. BADALA: Is it 11? I'm going to
    16       A I'm sorry. I just want to be clear that             16   object to outside the scope.
    17   treatment services can encompass more than just           17      A I'm sorry, can you repeat the question
    18   being a psychologist, a therapist. The ADAMHS board       18   again?
    19   will include comprehensive services which includes        19          MR. KEYES: Sure.
    20   CPST. I'm totally blanking on the acronym, but            20      Q (Mr. Keyes) If the county executive or
    21   that's essentially case management services, housing      21   county council asks you what is Cuyahoga County
    22   services, um, some job readiness assistance. We           22   getting for the $39 million it spends each year on
    23   recognize all of those services lead to people            23   the ADAMHS budget, what would you do to answer that
    24   living largely self-sufficient lives.                     24   question?
    25              So it is not just treatment in the             25          MR. BADALA: Same objection.
                                                         Page 35                                                       Page 37
     1   form of I'm coming in for NA, AA, medically                1      A I would first contact ADAMHS directly and
     2   assistive treatment, although it does cover that.          2   ask them that question. And, um, I mean, I would
     3      Q Does the ADAMHS Board itself provide these            3   get the response from them because I can't answer
     4   services or does it distribute funds to third              4   that question on my own. I would have to go to the
     5   parties to provide the services?                           5   ADAMHS Board.
     6      A The ADAMHS Board largely distributes                  6      Q (Mr. Keyes) If you were asked that
     7   funding to a myriad of nonprofit entities throughout       7   question by the county executive or county council
     8   the county who provide the direct services.                8   right now, would you be able to answer that
     9              So ADAMHS Board the means by which              9   question?
    10   the dollars get to the agencies that provide              10          MR. BADALA: Objection to form. Also
    11   services and they're also responsible for overall         11   object, outside the scope.
    12   coordination planning, identifying what the needs         12      A I would provide the answer that I gave
    13   are, identifying where gaps are, they provide             13   you, but I would end it with I'm going to contact
    14   advocacy services.                                        14   ADAMHS and ask them directly.
    15      Q What reports, if any, does the ADAMHS                15      Q (Mr. Keyes) And who specifically would
    16   Board provide to Cuyahoga County to account for the       16   you ask at ADAMHS Board?
    17   services that have been provided for the funding          17      A Likely I would start with Felicia
    18   that it received from the county?                         18   Harrison, who is their business manager, but if the
    19      A The ADAMHS Board does not submit financial           19   question was coming directly from an elected
    20   reports to the county                                     20   official, I would contact Scott Osiecki as well.
    21      Q Does it provide any kind of reports on the           21   He's the executive director or CEO, I'm not entirely
    22   services that have been provided?                         22   sure of his title, of the ADAMHS board.
    23           MR. BADALA: Objection to form.                    23      Q How much of the 39 million dollars that
    24      A Not as a matter of, not as a requirement             24   Cuyahoga County pays to the ADAMHS Board each year
    25   or as a practice. The ADAMHS Board does prepare           25   goes to treating people with mental illness and no

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     1   addiction issues?                                          1   they overdose.
     2       A I can't answer that question.                        2       Q (Mr. Keyes) You said for the last several
     3       Q How much of the $39 million that Cuyahoga            3   years Cuyahoga County has given $39 million each
     4   County pays to the ADAMHS Board each year goes to          4   year to the ADAMHS Board, correct?
     5   treating people who have addiction issues that do          5       A That's correct.
     6   not involve opioids?                                       6       Q Was that at the county executive's
     7       A I can't answer that question.                        7   recommendation?
     8       Q How many people each year does the ADAMHS            8       A So the county adopts a biannual budget.
     9   Board provide services to who are mentally ill, but        9   In 2017 the executive recommended 39 million for
    10   do not have an addiction problem?                         10   2018 and 2019.
    11       A I can't answer that question.                       11             In 2015 we were faced with
    12       Q How many people each year does the ADAMHS           12   significant shortfalls in both our general fund and
    13   Board provide services to who have addiction issues       13   our HHS levy fund, which is supported by two voted
    14   that do not involve opioids?                              14   levies, and that is how we fund the ADAMHS Board.
    15       A I can't answer that question.                       15   We had a shortfalls because our costs were
    16       Q What is the reason for the county council           16   increasing largely related to prescription opiates.
    17   each year giving $39 million to the ADAMHS Board?         17   But the county executive in 2015 did recommend to
    18          MR. BADALA: Objection to form. Outside             18   cut the subsidy ADAHMS by approximately $6 million.
    19   the scope.                                                19   It was a little bit more than 6 million. That is
    20       A ADAMHS is the, the ADAMHS Board is the              20   what was in the recommended budget.
    21   overarching behavioral health entity in Cuyahoga          21             And then when we went through the
    22   County. County council and the county executive           22   budget hearings, the ADAMHS Board came, they
    23   recognize that behavioral health, which includes          23   presented to council, they had a compelling
    24   both addiction and mental health services, is in a        24   presentation and the council restored their subsidy.
    25   crisis right now and is an underfunded area.              25   So they were not cut. But that year it was not
                                                         Page 39                                                        Page 41
     1             So the county is committed to                    1   recommended by the executive, or I should say for
     2   providing funds to the ADAMHS Board so that people         2   those years.
     3   who lack resources to seek treatment on their own          3       Q Okay. So for 2018 and 2019, the executive
     4   through insurance, through some other source can           4   recommended $39 million, correct?
     5   actually get treatment.                                    5       A Yes, that's correct.
     6             When people, I think it is important             6       Q And what was the county's recommendation
     7   to keep in mind, I mean, you have been talking to          7   for 2016 and 2017?
     8   the county, so you understand what it is that we do,       8       A Do you mean the executive's recommendation
     9   but the county's mandate is largely to deal with the       9   or the council.
    10   end result of when people are in crisis.                  10       Q What was the county executive's
    11             So I'm looking at the justice center            11   recommendation for 2016 and 2017?
    12   behind you, our mandate is the jail, our mandate is       12       A It was approximately 33 or 32 million and
    13   children in foster care. The county is trying with        13   change, because the cut was a little bit more than
    14   limited resources recognizing that we have been           14   6 million.
    15   overwhelms increasing cost of this epidemic to            15       Q And not withstanding the county
    16   provide funding on the front end in the hopes of          16   executive's recommendation after presentation by the
    17   bringing down not only the cost of our mandated           17   ADAMHS Board, the county council decided to keep the
    18   service, but improving quality of life.                   18   funding at $39 million for 2016 and 2017, correct?
    19             So when people don't get the mental             19       A Yes, we cut other entities to make up for
    20   health services they need, they might end up in the       20   the 6 million.
    21   homeless systems, when they don't get addiction           21       Q What was the county executive's
    22   services they need, they end up in our jail. And we       22   recommendation for ADAMHS funding for 2014 and 2015?
    23   end up having, I mean, we end up having to care for       23       A Um, I believe it was no cut. That would
    24   them anyway one way or another. Worse case scenario       24   have been Executive Fitzgerald.
    25   they end up in the medical examiner's office when         25       Q When you say no cut, the county executive

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     1   recommended $39 million for 2014 and 2015?                  1   know.
     2      A That's correct.                                        2      Q So did she confirm your understanding?
     3      Q And did the county council accept that                 3      A That's correct.
     4   recommendation and fund it $39 million per year             4      Q And what is your understanding then that
     5   level for 2014 and 2015?                                    5   she confirmed regarding the sources of revenue for
     6      A That's correct.                                        6   the sheriff's office?
     7      Q What is the county executive's                         7      A The sheriff's office is supported by a
     8   recommendation for 2012 and 2013?                           8   handful of revenue sources, the largest of which is
     9      A I can't remember.                                      9   the county's general fund. General fund derives
    10      Q Would that be reflected in the county                 10   revenue from county sales tax, property tax revenue,
    11   executive's recommended budget?                            11   charges for services. We get some reimbursements
    12      A It would be.                                          12   from the State of Ohio, investment income and then
    13      Q You said you don't remember what the                  13   some miscellaneous income.
    14   county executive recommended for 2012 and 2013, what       14             So all of that combined goes into the
    15   was actually appropriated by the county council for        15   general fund and then the sheriff's office is a
    16   those two years?                                           16   general fund entity.
    17      A That would be identified in the county's              17      Q What percentage of the sheriff's --
    18   budget plan, which I know we have turned over. I           18         MR. BADALA: Were you done sorry?
    19   don't recall, it would have been close to 39 million       19      Q (Mr. Keyes) -- comes from the general?
    20   because prior to the 39 million, I believe they were       20         MR. BADALA: I don't think she was done
    21   receiving like 40 million or 41. So we might have          21   with her previous answer.
    22   cut them slightly, but it wasn't as significant as         22      A I'm not, but I can work that all in. So
    23   when we had to ask them for six.                           23   the sheriff's budget is largely 85 percent general
    24      Q Earlier you said that for the last several            24   fund.
    25   years the county has given $39 million per year to         25             They also receive approximately two
                                                          Page 43                                                      Page 45
     1   the ADAMHS Board, but before that, it was in the 40s        1   to two and a half million dollars from the county's
     2   if I understood you correctly.                              2   two voted levies. We have two levies for Health and
     3              So when was the funding level for the            3   Human Services. One is a 3.9 mil, the other is a
     4   ADAMHS Board in the 40s?                                    4   4.8 mil. We allocate approximately two and a half
     5       A I can't recall the specific year. It                  5   million dollars to the sheriff's office, which
     6   would be in the documents that we have provided.            6   covers the cost of some of the mental health care in
     7       Q You said you also reached out to the                  7   the county jail. So that's nurses, medical
     8   sheriff's office to prepare for today's deposition?         8   expenses.
     9       A That's correct.                                       9             The sheriff's office also receives
    10       Q Why?                                                 10   revenue from what we call internal service fund,
    11       A Um, the sheriff's office has been hit very           11   which means they charge other entities for their
    12   hard as a result of this opiate epidemic and their,        12   services and that's for the cost of protection and
    13   the sheriff is our largest in terms of dollars             13   security for county owned and operated buildings.
    14   entity in the general fund. So they are a bit of a         14   So these are the security guards. They operate
    15   beast in the terms of their budget.                        15   under the authority of the county sheriff, and that
    16              I wanted to confirm again that my               16   is approximately $10 million a year.
    17   understanding relative to their sources of revenue,        17             And then they have some other nominal
    18   which they have very few actually, and their               18   sources of revenue. We collect fees from
    19   expenditures was accurate.                                 19   individuals who are on home detention if they have
    20       Q And you spoke with Donna Kaleal, the                 20   the ability to pay. We collect fees for conceal
    21   business manager for the sheriff's office?                 21   carry applications and licenses, but those are less
    22       A That's correct.                                      22   than 1 percent of their budget.
    23       Q What did you learn from Miss Kaleal about            23       Q (Mr. Keyes) You said that the sheriff's
    24   the sources of revenue for the sheriff's office?           24   office gets to two and two and a half million dollar
    25       A I didn't learn anything I didn't already             25   two vote levies. How does that translate into a

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     1   percentage of the budget?                                   1   in parentheses, that is the law enforcement
     2       A Maybe three, well, 3 percent.                         2   division.
     3       Q And you said that the sheriff's office                3       Q So in that chart where it refers to jail,
     4   receives about $10 million from the internal                4   that's referring to the jail division of the
     5   services fund?                                              5   sheriff's office?
     6       A 10 to $11 million that's correct.                     6       A That is correct.
     7       Q How does that translate into percentage of            7       Q And where it refers in that chart to
     8   the sheriff's office budget?                                8   sheriff only, that's referring to the law
     9       A That's approximately 10 percent of their              9   enforcement division of the sheriff's office?
    10   budget.                                                    10       A That is correct.
    11       Q So you say roughly 85 percent of the                 11       Q Is there any listing in that chart for the
    12   sheriff's budget comes from the general fund, about        12   protective services or operations division of the
    13   10 percent comes from the internal services fund,          13   sheriff's office?
    14   about 3 percent from the two voted levies and the          14       A No, there's not.
    15   remainders from these nominal fees?                        15       Q And did you speak with Miss Kaleal about
    16       A That's correct.                                      16   your understanding about how the law enforcement or
    17       Q And what did you learn from Miss Kaleal              17   jail divisions of the sheriff's office have incurred
    18   about the sheriff's offices expenditures?                  18   expenses because of the opioid problem?
    19       A I didn't learn anything that I didn't                19       A The jail division, yes.
    20   already know.                                              20       Q Did you speak with her about the law
    21       Q Did Miss Kaleal confirm your understanding           21   enforcement division incurring expenses because of
    22   of the expenditures?                                       22   the opioid problem?
    23       A That's correct.                                      23       A No, I did not.
    24       Q What understanding did she confirm?                  24       Q Did you have an understanding about
    25       A So the sheriff's office has primarily four           25   whether or how the law enforcement division of the
                                                          Page 47                                                    Page 49
     1   divisions. One of which is the law enforcement              1   sheriff's office has incurred expenses because of
     2   division, so that's our deputy sheriff's. The other         2   the opioid problem?
     3   is the jail and the jail is the largest division            3          MR. BADALA: Objection to form.
     4   within the sheriff's office.                                4       A Um, the law enforcement division is, those
     5              So when confirming what expenses                 5   are our deputies. Those are the ones who deal with
     6   might have been attributed to the opiate epidemic,          6   criminal investigations, criminal, so they do
     7   we are largely looking at the jail, and the deputies        7   investigations that's our civil, they have a civil
     8   law enforcement division.                                   8   division as well.
     9              You said sheriff's office has four               9              How these specific numbers were
    10   divisions. Are you saying two divisions that did           10   derived is not something that the county does. This
    11   not incur expenditures because of the opioid               11   is not something that the county came up with. I do
    12   problem?                                                   12   not have a specific understanding of what costs in
    13       A The Protective Services Division is one of           13   the law enforcement division are specifically a
    14   them. And then what we would call operations, which        14   attributable to the opiate epidemic, no.
    15   is effectively the sheriff himself and the cost of         15       Q (Mr. Keyes) I'm not asking about the
    16   their building.                                            16   chart, I'm asking about your understanding. Do you
    17       Q And so is it the county's position that              17   have an understanding as to how the law enforcement
    18   the proactive services and operation divisions did         18   division of the sheriff's office has incurred
    19   not incur expenditures because of the opioid               19   expenses because of the opioid problem?
    20   problem?                                                   20       A My understanding is that they have
    21       A So if you look at the county's response to           21   incurred expenses, yes. But I do not have the
    22   the Interrogatory Number 2, or 18, I'm sorry.              22   detail on what those expenses are.
    23   Exhibit 2 details what budgets have been affected by       23       Q Okay. Even if you don't have the detail,
    24   the opiate epidemic. And the county has identified         24   can you identify for me the categories of expenses
    25   the jail and the sheriff where it says sheriff only        25   that have been incurred by the law enforcement

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                                                       Page 50                                                      Page 52
     1   division because of the opioid problem?                  1   of the sheriff's office incurs expenses because of
     2       A The category would be personnel expenses,          2   the opioid problem?
     3   law enforcement is that division is 99 percent           3       A Yes, I do. And actually, if I can just,
     4   personnel costs. So the cost of the deputies, their      4   one of the responsibilities of the deputies that I
     5   salary, their benefits, the overtime.                    5   do know is transporting prisoners.
     6       Q What do these deputies do. You said they           6             So by law, when prisoners have to be
     7   were involved in investigations?                         7   transported, it has to be a deputy, has actually to
     8       A Yes.                                               8   be two deputies, it can't be a corrections officer.
     9       Q What else do they do?                              9   So I do know that there have been costs incurred
    10       A Um, I can't tell you exactly what the job         10   because of the prisoners in the jail when we have to
    11   responsibilities of the deputies are.                   11   take them to outside medical facilities to get their
    12       Q Even if you can't tell me exactly, can you        12   treatment, that will be deputies, not correction
    13   tell me generally what the deputies do besides being    13   officers.
    14   involved in investigations?                             14             So we have seen an increase in
    15       A No.                                               15   overtime expenses attributed to the deputies.
    16       Q What is the role of the deputies in these         16       Q You said the deputies are involved in
    17   investigations?                                         17   transporting prisoners. Are these prisoners who
    18       A I can't answer that question.                     18   have been convicted of a crime?
    19       Q Are these criminal investigations?                19          MR. BADALA: Objection to form, outside
    20       A I can't answer that question.                     20   the scope.
    21       Q Are these investigations into whether             21       A They are not prisoners who have been
    22   people have committed crimes?                           22   convicted of a crime.
    23          MR. BADALA: Objection, outside the scope.        23             So the county jail houses prisoners
    24       A I'm sorry, I can't answer that question.          24   who are both pre and post-adjudication. Majority of
    25       Q (Mr. Keyes) Okay. So your understanding           25   our prisoners are pre-adjudication. They have not
                                                       Page 51                                                      Page 53
     1   is that the law enforcement division of the              1   been convicted of a crime.
     2   sheriff's office has incurred expenses because of        2             We do have some prisoners who are
     3   the opioid problem, correct?                             3   sentenced to the county jail through what's called a
     4       A That is my understanding.                          4   local incarceration program, but the majority of
     5       Q That the law enforcement division is               5   them, I believe, approximately 80 to 85 percent,
     6   essentially the personnel of the sheriff's office;       6   have not been convicted of any crime.
     7   correct?                                                 7      Q (Mr. Keyes) Have the other 15 to
     8       A Well, they're not just the personnel of            8   20 percent been convicted of a crime?
     9   the sheriff's office, but their budget is personnel,     9          MR. BADALA: Objection to form, outside
    10   that's correct.                                         10   the scope.
    11       Q And that this is the cost of the                  11      A The other 15 percent have been convicted
    12   personnel, the deputies?                                12   of a crime and they are either serving a sentence in
    13       A That's correct.                                   13   our county jail, or they're awaiting transport to a
    14       Q And you know that the deputies are                14   prison.
    15   involved in investigations?                             15             So they don't always move to the
    16       A Yes.                                              16   prison the day that they're found guilty.
    17       Q But you don't know anything about the             17      Q (Mr. Keyes) And the other 80 to
    18   investigations, correct?                                18   85 percent of prisoners who are being transported
    19       A That's correct.                                   19   are people who have been accused of a crime and are
    20       Q And you don't know what the deputies do           20   awaiting trial?
    21   besides they're somehow involved in investigations,     21          MR. BADALA: Objection to form, outside
    22   correct?                                                22   the scope.
    23       A That's correct.                                   23      A That is correct.
    24       Q Okay. And then do you have an                     24      Q (Mr. Keyes) Okay. So you, you mentioned
    25   understanding as to how or whether the jail division    25   that the deputies in the law enforcement division of

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                                                      Page 54                                                      Page 56
     1   the sheriff's office not only are involved in         1     division because of the opioid problem?
     2   investigations, they are involved in transporting     2         A So the jail budget is largely comprised,
     3   prisoners, correct?                                   3     the overwhelming of the expenses are personnel, of
     4       A They are, yeah.                                 4     course. So, again, that's salaries, wages
     5       Q With respect to transporting prisoners,         5     associated with corrections officers, medical
     6   those prisoners are of two types, correct? They are   6     personnel, cooks, some other personnel.
     7   either, you quantify them as 15 to 20 percent of the  7                And then we have the fixed cost of
     8   prisoners. Those are people who have been convicted 8       the facility itself. Medical expenses, which
     9   of a crime and are either serving a sentence or       9     include both the cost of providing health care,
    10   awaiting transfer to some other facility where they  10     inside the jail we have an outfitted clinic. We
    11   will serve their sentence, correct?                  11     contract with the Metro Health System to provide
    12       A That's correct.                                12     physicians and other medical services in the jail.
    13       Q And the 80 to 85 percent of these              13     So that's included in their medical line item, as
    14   prisoners who are being transported by deputies are 14      well as the cost of what we refer to as outside
    15   people who have been accused of a crime and are      15     medical, which is when we have to take a prisoner.
    16   being held as they wait for their trial, correct?    16                If there is some medical issue that's
    17       A That is correct.                               17     presenting that we cannot handle in the clinic or it
    18       Q And what percentage of these prisoners are     18     is an emergency, we have to take them to the nearest
    19   either accused of or convicted of a drug crime?      19     hospital.
    20          MR. BADALA: Objection to form.                20                That the cost of that outside medical
    21       A What topic are we talking about? I'm just      21     care is captured in the jail budget as well.
    22   unclear.                                             22         Q So you have described for me what is in
    23       Q (Mr. Keyes) We are talking about damages. 23          the budget of the jail division of the sheriff's
    24       A Correct.                                       24     office, correct?
    25       Q You referred me to this chart.                 25         A That's correct.
                                                      Page 55                                                      Page 57
     1       A Okay.                                             1       Q And so these are the costs incurred by
     2       Q And you said this chart shows the damages.        2   Cuyahoga County in running the jail?
     3   And you said that the line item sheriff only is for     3       A That's correct. They are also the costs
     4   this law enforcement division and I'm asking what do    4   incurred by Cuyahoga County as a result of the
     5   the people do in the law enforcement division?          5   opiate epidemic because A, the number of people in
     6       A Okay.                                             6   our jail has increased, and also the medical
     7       Q So we are still on topic 11.                      7   expenses. The number of inmates presenting to the
     8       A Okay.                                             8   county jail who are opiate addicted has increased
     9       Q Which is damages.                                 9   dramatically over the last several years.
    10             So what percentage of these prisoners        10             So that presents a number of issues
    11   who are being transported by sheriff's deputies you    11   medically that the county by law is required to deal
    12   are either accused of or convicted of a drug crime?    12   with. But also for a period of time these inmates
    13       A I don't have that data.                          13   were receiving medically assisted treatment. I
    14       Q What percentage of these prisoners are           14   forget specifically the name of the medicine that
    15   either accused of or convicted of a crime involving    15   they had to be given, but the county was not
    16   opiates?                                               16   equipped to do that in the jail.
    17       A I don't have that data.                          17             So we were transporting opiate
    18       Q What percentage of these prisoners are           18   addicted inmates every day to get their treatment
    19   either accused of or convicted of a crime based on     19   and that was extremely expensive.
    20   their use, misuse or abuse of a prescription opioid?   20       Q Ma'am, I asked you with respect to, listen
    21          MR. BADALA: Objection to form.                  21   to the question and answer the question because you
    22       A I don't have that data.                          22   are giving me speeches. Now my question was --
    23       Q (Mr. Keyes) Okay. Turning your attention         23          MR. BADALA: She has answered your
    24   then to the jail division of the sheriff's office.     24   question.
    25   What expenses have been incurred by the jail           25       Q (Mr. Keyes) These costs occurred by

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                                                         Page 58                                                     Page 60
     1   Cuyahoga County in running the jail, yes or no,            1      Q (Mr. Keyes) What is the percentage of
     2   correct. You said that's correct and then you              2   increase in prisoners at the jail who are they
     3   launched into a long answer. We are on the clock           3   because they've been accused of or were convicted of
     4   here. So with respect, I ask you to listen to the          4   a crime involving illicit opioids?
     5   question and answer the question.                          5      A I don't have that data.
     6           MR. BADALA: Which she's doing.                     6      Q What is the percentage increase in
     7       Q (Mr. Keyes) You have already described               7   prisoners at the jail who are there because they've
     8   the prisoners who are in this jail these two type of       8   been accused of were convicted of a crime involving
     9   prisoners, correct?                                        9   their use or misuse or abuse of prescription
    10       A That's correct.                                     10   opioids?
    11       Q So these are prisoners who by definition            11          MR. BADALA: Objection to form.
    12   are either who have been convicted of a crime and         12      A I don't have that data.
    13   serving a sentence, or have been convicted of a           13      Q (Mr. Keyes) You also said that the costs
    14   crime and are awaiting transfer to another facility       14   of providing medical care to prisoners at the jail
    15   where they can serve out their sentence, or they          15   has increased over time?
    16   have been accused of a crime and are a waiting            16      A That is correct.
    17   trial, correct?                                           17      Q When did those costs increase because of
    18       A That's correct.                                     18   the opioid problem?
    19       Q And so the prisoners who are at this jail           19          MR. BADALA: Objection to form.
    20   fall into one of those three categories?                  20      A The county, as I mentioned, the county has
    21       A That's correct.                                     21   identified an impact on our budget going back to
    22       Q And there is no fourth category?                    22   2006. That is what is in Exhibit 2. It could have
    23       A That's correct.                                     23   gone back further. We have seen that this has
    24       Q Okay. Now, you said that the number of              24   affected our systems and our budget going back to
    25   people in the jail has increased because of the           25   2006, including the jail.
                                                         Page 59                                                     Page 61
     1   opioid problem?                                            1       Q (Mr. Keyes) What is the percentage
     2       A That's correct.                                      2   increase in the prisoners and jail who are getting
     3       Q When did the opioid problem cause the                3   medical care because they have an opioid use
     4   number of the people in the jail to increase?              4   disorder or an addiction to opioids?
     5          MR. BADALA: Objection to form, outside              5           MR. BADALA: Objection to form.
     6   the scope.                                                 6       A I don't have that data, the jail does.
     7       A Um, I can't. So the county I know saw                7       Q (Mr. Keyes) What is the percentage
     8   that the opiate epidemic was affecting our systems         8   increase in the prisoners at the jail who are
     9   and our budget in 2016.                                    9   getting medical care because they have an opioid use
    10             After that time, once we became aware           10   disorder or addiction to opioids arising from their
    11   of the issue and the county was connecting the dots,      11   use only of prescription opioids?
    12   we had traced that impact of this epidemic on our         12           MR. BADALA: Again --
    13   systems and our budget to at least 2006, perhaps          13       A I don't have that data.
    14   earlier. I cannot give you a specific date as to          14       Q (Mr. Keyes) To answer these questions
    15   when the number of prisoners increased specific to        15   about the population in the jail the circumstances
    16   the opiate epidemic, but I can say that ADP, so the       16   of the prisoners at the jail, where would you go for
    17   average daily population, the ADP has increased and       17   that information?
    18   the number of opiate addicted inmates has increased.      18       A To answer a question like the crimes that
    19       Q (Mr. Keyes) What is the percentage                  19   they have been accused of?
    20   increase in prisoners at the jail who are there           20       Q The crimes they have been accused of?
    21   because they've been accused of or convicted of a         21       A Convicted of.
    22   drug crime?                                               22       Q The reason they're in jail, whether they
    23          MR. BADALA: Objection to form.                     23   have medical issue, whether their medical issue is
    24       A As I indicated earlier, I don't have that           24   attributable to opioids, whether their medical issue
    25   data.                                                     25   is attributable to their use, misuse or abuse of

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                                                       Page 62                                                        Page 64
     1   prescription opioids.                                    1   to answer any of those questions?
     2          MR. BADALA: Objection to form.                    2          MR. BADALA: Objection to form.
     3      Q (Mr. Keyes) Any of those questions, where           3      Q (Mr. Keyes) To identify costs that are
     4   would you go?                                            4   specific to opioids or specific to the use, abuse or
     5          MR. BADALA: Same objection.                       5   misuse or prescription opioids?
     6      A I have to go to a number of sources to              6          MR. BADALA: Objection to form.
     7   determine why the people are in the jail. So the         7      A No, that's not the county's business.
     8   charges that have been filed against them would be a     8   That's not what we do on a day-to-day basis. So,
     9   question for the court.                                  9   no, we have not done that.
    10              The jail does have access to the             10          MR. BADALA: Sorry, just before you start
    11   court system. As to what they're medical conditions     11   we have gone over an hour now. Do you need a break?
    12   are, the reason for their medical condition, that       12          MR. KEYES: We can take a break in a
    13   would be a question for the Metro Health facility.      13   moment, but let me just follow up on a question or
    14      Q (Mr. Keyes) Are those questions you have           14   something you said before about preparing forecasts
    15   asked of anyone before today?                           15   for the county executive and the county council?
    16      A I have not asked what percentage of people         16      A Uh-huh.
    17   are in the jail because of specific crimes. I do        17      Q (Mr. Keyes) How often do you prepare
    18   care, for reporting service I do check in relatively    18   these forecasts?
    19   routinely on the number of people that are              19      A We prepare and publish forecasts on a
    20   pre-adjudication, post-adjudication. Theoretically      20   quarterly basis. So those are formal because we
    21   we would like the number to be mostly                   21   produce books.
    22   pre-adjudication.                                       22             More informally we prepare forecasts
    23              But for the medical cost, I do ask as        23   on a monthly basis and then we will also prepare
    24   well because it informs not only, you know, why our     24   them as needed if an elected official, a director,
    25   projections are what they are in terms of what          25   anybody comes to me and says, hey, look at this.
                                                       Page 63                                                        Page 65
     1   they're spending, but helps us make a determination      1   You know, we can can do it on demand, but the
     2   of whether this is going to continue.                    2   analysts are looking at it more informally on a
     3              But my job largely is to manage the           3   monthly basis and then formally we do very extensive
     4   budget in a sense we do monitor, we do cost              4   review.
     5   projections, but part of my job is to do forecasting     5       Q Have any of the forecasts that you have
     6   to inform the elected officials here is where we are     6   prepared to date looked at the projected future
     7   going to stand at the end of the year. Here is what      7   costs to be incurred by Cuyahoga County because of
     8   you are going to have for next year. Here is what        8   the opioid problem or epidemic?
     9   you are going to have four years from now.               9          MR. BADALA: Objection to form.
    10              So included in that is to try to             10       A Yes. So we do take into consideration the
    11   understand what are our costs and why are they          11   impact that this epidemic has had on Cuyahoga County
    12   higher in the jail, how come the deputies are           12   and we have extrapolated that out to future years.
    13   working so much overtime, is this going to last         13             For example, the number of children
    14   forever.                                                14   in foster care has increased quite significantly
    15              So I do ask those questions, but not         15   over the last several years.
    16   really to the level of detail that you are asking me    16             We are not assuming that we've
    17   today.                                                  17   plateaued. So we are not assuming that we are going
    18       Q As far as you know, has anyone undertaken         18   to go down again. So our forecasts assumes we are
    19   to answer those questions?                              19   going to spend slightly more than we have been
    20       A Um, I believe that the county attorneys           20   spending over the last several years because we
    21   are looking into that and working with experts to       21   think we are going to keep rising.
    22   answer those questions.                                 22             Similarly the medical examiner, they
    23       Q Separate from the county's attorneys in           23   have pathologists on staff, we have forecasted in
    24   this lawsuit working with experts in this lawsuit,      24   previous years that we're going to have to add a
    25   has anyone at the county ever otherwise undertaken      25   pathologist because the number of autopsies has kept

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     1   rising. And according to the medical examiner's           1                 (Deposition Exhibit Number 2
     2   data, it is directly attributed to the opioid             2                 marked for identification.)
     3   epidemic. And we have since hired a new                   3       Q (Mr. Keyes) I'm going to ask you to pass
     4   pathologist. So two years ago we were assuming we         4   that binder. We will mark that as Exhibit 2.
     5   were going to probably have to do that, it is             5             Prior to the break you were
     6   included in our forecasts, yes.                           6   describing forecasts that you prepare either on a
     7          MR. BADALA: Just before we go again, do            7   quarterly or monthly basis for the county executive
     8   you need a break? We have been going over an hour.        8   and the county council, correct?
     9       A I would like a break.                               9       A Yes.
    10          MR. BADALA: So we can go off the record.          10       Q Do any of those forecasts specifically
    11          THE VIDEOGRAPHER: It is 10:28 time, we            11   discuss the expenses that you anticipate Cuyahoga
    12   are going off 10:22, going off the record.               12   County will incur in the future because of the
    13                   (Recess)                                 13   opioid problem?
    14          THE VIDEOGRAPHER: It is 10:39. We are             14       A Um, documents that go along with the
    15   back on the record.                                      15   forecasts discuss categories of expenses that are
    16          MR. BOEHM: I wasn't in the room when we           16   related to the opiate epidemic, but as I've said
    17   started the deposition, I am just noting my              17   before, the county is not in the position to
    18   presence. Paul Boehm from Williams and Connolly for      18   identify, you know, what specific costs can be
    19   Cardinal.                                                19   attributed to prescription opiates, so no.
    20       Q (Mr. Keyes) Miss Keenan, did you reach             20             But we do discuss environmental
    21   out to any other agencies besides the ADAMHS Board       21   factors and that's one of them that would be
    22   and sheriff's office to prepare for your testimony       22   included.
    23   today?                                                   23       Q You referenced the opioid epidemic a
    24       A No.                                                24   number of times. When did the opioid epidemic start
    25       Q Did you review any deposition transcripts          25   in Cuyahoga County?
                                                        Page 67                                                      Page 69
     1   to prepare for today's deposition testimony?          1              MR. BADALA: Objection to form, outside
     2      A No, I did not.                                   2       the scope.
     3      Q Did you read your own transcript of your         3           A The county has identified an impact on its
     4   testimony from last month?                            4       systems and budgets going back to 2006, could be
     5      A No, I did not.                                   5       further. The county is not in the position to
     6      Q Separate from preparing for today's              6       identify a date of when the epidemic started.
     7   deposition, have you read that transcript?            7           Q (Mr. Keyes) So the opioid epidemic
     8      A No.                                              8       started at least by 2006?
     9      Q Did you you read the transcript of anyone        9              MR. BADALA: Objection to form,
    10   else's testimony in this case?                       10       mischaracterizes the testimony.
    11      A No.                                             11           A The county recognized that the opiate
    12      Q Did you review any other documents besides 12            epidemic had an impact on the systems and budgets
    13   the budget documents you previously described?       13       beginning at least in 2006, yes.
    14      A To prepare for this deposition?                 14           Q (Mr. Keyes) What was the peak of the
    15      Q Yes.                                            15       opioid epidemic in Cuyahoga County?
    16      A No.                                             16           A The county is not saying that we've
    17      Q Did you speak with anyone else besides the      17       reached the peak, we don't know.
    18   people you have already identified to prepare for    18           Q What has the peak been between 2006 and
    19   today's deposition?                                  19       present?
    20      A No.                                             20              MR. BADALA: Objection to form, outside
    21      Q Did you take any notes as you prepared for      21       the scope.
    22   today's deposition, either as you met with the       22           A I don't have that data. I think the peak,
    23   lawyers, as you spoke with budget analysts or people 23       first of all, how is that defined. Is it defined by
    24   from certain agencies, or as you reviewed documents? 24       the number of deaths, is it defined by the number of
    25      A No.                                             25       children we take from their parents who are ill

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     1   equipped to care for them. Is it defined by the             1   overdoses compares from year to year, correct?
     2   number of opiate addicted inmates we have. I don't          2          MR. BADALA: Objection, outside the scope.
     3   understand the question.                                    3       A Not without seeing the data, no.
     4             So I can't answer the question                    4       Q (Mr. Keyes) You don't know how the number
     5   because I don't know which data source you are              5   of deaths from overdoses compares from year to year?
     6   referring to.                                               6          MR. BADALA: Same objection.
     7      Q (Mr. Keyes) Were there more deaths from                7       A I need to see the data.
     8   overdoses on opioids in 2017 or 2016?                       8       Q (Mr. Keyes) Do you know how 2018 compares
     9          MR. BADALA: Objection to form, outside               9   to prior years, either in terms of the number of
    10   the scope.                                                 10   projected overdoses or the number of projected
    11      A I don't have that data memorized, so I                11   deaths from overdose?
    12   don't know.                                                12          MR. BADALA: Again, objection, outside the
    13      Q (Mr. Keyes) Were there more deaths from               13   scope.
    14   overdose on opioids in 2016 or 2015?                       14       A It is my understanding that the number of
    15          MR. BADALA: Objection, outside the scope.           15   projected deaths based on the data available to us
    16      A Again, I didn't review deaths. My topics              16   at the time indicates that the 2018 number is less
    17   are specific to county revenue and expenses of the         17   than the previous year, 2017.
    18   county org chart. So I did not review autopsy data.        18       Q (Mr. Keyes) What is your basis for saying
    19      Q (Mr. Keyes) Were there more overdoses on              19   that?
    20   opioids in 2017 or 2016?                                   20       A That has been reported.
    21          MR. BADALA: Objection, outside the scope.           21       Q By whom or what?
    22      A I believe you asked me that, I don't know             22       A By the county. So the medical examiner
    23   the answer.                                                23   has provided data and the county reported that
    24      Q (Mr. Keyes) I asked before about deaths,              24   publically.
    25   now I'm asking about overdoses. Overdoses don't            25       Q You are aware of the reports that the
                                                          Page 71                                                        Page 73
     1   necessarily lead to death, correct?                         1   medical examiner's office periodically issues with
     2      A Yes, I understand that.                                2   projected overdoses and projected deaths from
     3      Q My question was, were there more overdoses             3   overdoses, correct?
     4   on opioids in 2017 or 2016?                                 4          MR. BADALA: Objection, outside the scope.
     5          MR. BADALA: Objection, outside the scope,            5       A That's correct.
     6   which topic?                                                6       Q (Mr. Keyes) And so are you referring to
     7      A Again, I didn't review that. That's not                7   that medical examiner's recent report projecting
     8   one of my topics.                                           8   that the number of overdoses and deaths from
     9      Q (Mr. Keyes) Were there more overdoses on               9   overdoses from opioids will be lower in 2018 than it
    10   opioids in 2016 or 2015?                                   10   was in 2017?
    11          MR. BADALA: Objection, outside the scope.           11       A I'm not specifically referring to that
    12   Which topic are we on?                                     12   report. I'm referring to statements that the county
    13          MR. KEYES: We are still on damages,                 13   has made and there have been, there was an article
    14   right. We are trying to understand what damages the        14   in the newspaper because the county made a public
    15   county is claiming resulted from the opioid problem.       15   statement.
    16   She has identified the opioid problem as an opioid         16              I know that the medical examiner
    17   epidemic. So I'm trying to understand from the             17   informed the county's public statements, but I have
    18   county's perspective what was the course of the            18   not seen, um, the reports that you are talking
    19   opioid epidemic. You said it started in 2006 or            19   about.
    20   earlier and you weren't able to identify the peak          20       Q Has the county experienced the heroin
    21   because you didn't know what criteria. Now I'm             21   epidemic?
    22   going through some potential criteria to identify          22          MR. BADALA: Objection to form.
    23   what the peak of this opioid epidemic has been in          23       A The county has experienced a heroin
    24   Cuyahoga County. If you don't know, you don't know.        24   epidemic that it believes coincides with and is the
    25          So you don't know how the number of                 25   result of the prescription opiate epidemic, yes.

                                                                                                          19 (Pages 70 - 73)
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                                                       Page 74                                                      Page 76
     1      Q (Mr. Keyes) Okay. So it is the county's             1   down.
     2   position that the heroin epidemic begin as early as      2             I can't pinpoint for you specifically
     3   2006?                                                    3   which drugs.
     4          MR. BADALA: Objection to form,                    4       Q (Mr. Keyes) Has Cuyahoga County
     5   mischaracterizes testimony, also outside the scope.      5   experienced a Fentanyl epidemic?
     6      A The county's position is that the                   6          MR. BADALA: Objection, outside the scope.
     7   prescription opiate epidemic occurred at least going     7       A The county includes Fentanyl in its
     8   back as far as 2006. The county's position is that       8   description of prescription opiates, yes.
     9   heroin abuse is the result of prescription opiates.      9       Q (Mr. Keyes) So has Cuyahoga County
    10      Q (Mr. Keyes) So is it the county's                  10   experienced a Fentanyl epidemic?
    11   position that the heroin epidemic began as early as     11          MR. BADALA: Same objection.
    12   2006, heroin epidemic?                                  12       A Yes, because it recognizes that Fentanyl
    13          MR. BADALA: Objection to form, same              13   is included in the prescription opiate epidemic.
    14   objection.                                              14       Q (Mr. Keyes) When did the Fentanyl
    15      A The county's position is that the opiate           15   epidemic start?
    16   epidemic started in 2006. The county does not have      16          MR. BADALA: Same objection.
    17   a position on specifically when the heroin epidemic     17       A I'm going to have to give the same answer,
    18   started. We recognize that they are all part of the     18   that the county has identified 2006, if not earlier,
    19   same problem.                                           19   as the time when the opiate epidemic, which includes
    20      Q (Mr. Keyes) The county does not have a             20   Fentanyl, heroin, affected its systems and its
    21   position as to when the heroin epidemic started, did    21   budget.
    22   I hear you correctly?                                   22       Q (Mr. Keyes) Okay. Has Cuyahoga County
    23      A The county has a position when the opiate          23   experienced the carfentanil epidemic?
    24   epidemic started.                                       24          MR. BADALA: Objection, outside the scope.
    25      Q I understand, but my question is about the         25       A Carfentanil is included in the opiate
                                                       Page 75                                                      Page 77
     1   heroin epidemic. Am I hearing you correctly that         1   epidemic.
     2   the Cuyahoga County does not have a position as to       2       Q (Mr. Keyes) So if I understand you
     3   when the heroin epidemic started?                        3   correctly, Cuyahoga County does not distinguish
     4          MR. BADALA: Objection to form, outside            4   between opioids, heroin, Fentanyl or carfentanil
     5   the scope.                                               5   when it comes to the epidemic, correct?
     6      A The county recognizes that they are one in          6          MR. BADALA: Objection, outside the scope.
     7   the same. So the answer is 2006.                         7       A So to be clear, the county certainly does
     8      Q (Mr. Keyes) Okay. What was the peak of              8   make that distinction in like the medical examiner's
     9   the heroin epidemic?                                     9   office. They do track all of those separately, but
    10          MR. BADALA: Objection to form, outside           10   when the county refers to the opiate epidemic that
    11   the scope.                                              11   is plaguing us, yes, it includes all of those.
    12      A The county doesn't know that we have               12       Q (Mr. Keyes) And you said that epidemic
    13   reached the peak.                                       13   started as early as 2006, perhaps before 2006,
    14      Q (Mr. Keyes) Has the medical examiner's             14   correct?
    15   office recently issued projections showing that the     15       A That's correct.
    16   number of overdoses and the number of deaths from       16       Q That at least as early 2006 that epidemic
    17   heroin is projected to be lower in 2018 than it was     17   had an impact on the county system then budgets,
    18   in 2017?                                                18   correct?
    19          MR. BADALA: Objection, outside the scope.        19       A That's correct.
    20      A I haven't seen the medical examiner's              20       Q And that impact was a negative impact,
    21   report, so I can't say definitively that the number     21   correct?
    22   of deaths related specific to heroin, prescription      22       A Yes.
    23   opiates are down.                                       23       Q And that negative impact included causing
    24             I do know as I indicated earlier that         24   Cuyahoga County to spend money because of that
    25   the number of overdose deaths related to opiates are    25   epidemic, correct?

                                                                                                     20 (Pages 74 - 77)
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                                                          Page 78                                                        Page 80
     1     A     Absolutely.                                         1             Investigation of both its past and
     2     Q     As early as 2006 and perhaps before?                2   ongoing costs, expenditures, damages, loss or harms
     3     A     Absolutely.                                         3   caused by defendant is ongoing. County is seeking
     4                  (Deposition Exhibit Number 3                 4   past and ongoing lost tax revenue in the amount of
     5                  marked for identification.)                  5   approximately 850 million. That's not reflected on
     6       Q (Mr. Keyes) Showing you what has been                 6   this chart that you've provided to me in Exhibit 2.
     7   marked as Keenan 30 (b)(6) Exhibit Number 3.                7             Treble damages or reasonable
     8              This is Cuyahoga County's Second                 8   attorney's fees, maximum amount of punitive damages,
     9   Supplemental Responses to Defendants Interrogatory          9   again, not covered here. Recovery of costs imposed
    10   Number 18.                                                 10   on it by the defendants' conduct abatement.
    11              Do you see that on the front page?              11      Q So you are reading from the list of
    12       A Yes.                                                 12   categories on page eight?
    13       Q And this is identical to what is tab one             13      A I am.
    14   in the binder you brought to today's deposition,           14      Q Let's stick with the first category.
    15   which we marked as Exhibit 2, correct?                     15          MR. BADALA: Were you done with your
    16       A I'd have to review the document entirely             16   answer? You asked the question. Were you done with
    17   to see if it is identical.                                 17   the answer?
    18       Q Well, it has the same title, correct?                18      A Well --
    19       A Well, it does.                                       19          MR. KEYES: I don't need you to read the
    20       Q Same number of pages?                                20   document out loud to me.
    21       A I haven't gone through every number of               21      A Okay.
    22   pages yet.                                                 22          MR. BADALA: Are you done with your
    23       Q Okay. Well, I will represent to you it is            23   answer? Only if you are done.
    24   the same and you can use either what has been marked       24      A Yeah, I'm done with my answer, but I want
    25   as Exhibit 3 or you can use what is included in tab        25   to be clear.
                                                          Page 79                                                        Page 81
     1   one of your binder, but I ask you to turn to the            1          MR. KEYES: Okay.
     2   chart that you referenced earlier.                          2       A That is not an exhaustive list of what the
     3       A Exhibit 2.                                            3   county council is seeking.
     4       Q Yes.                                                  4       Q (Mr. Keyes) Let's stay with page seven.
     5       A Okay.                                                 5       A Okay.
     6       Q So this is Exhibit 2 to Cuyahoga County's             6       Q Of Exhibit 3 which says, plaintiff also
     7   Second Supplemental Responses to Interrogatory              7   seeks the following quote, "past and ongoing loss
     8   Number 18, correct?                                         8   tax revenue in the amount of approximately
     9       A Yes.                                                  9   $850 million."
    10       Q Which document we have marked in this                10              Do you see that language?
    11   deposition as Exhibit 3, so the labeling is somewhat       11       A I do.
    12   confusing. But this is a chart prepared on behalf          12       Q Did you calculate that figure?
    13   of Cuyahoga County, correct, identifying its claimed       13       A No, I did not.
    14   damages in this case, correct?                             14       Q Who did?
    15       A These are a portion of the claimed                   15       A Um, this figure was calculated by, I
    16   damages, they are not an exhaustive list, but yes,         16   believe the county's attorneys were working with
    17   these are damages that the county is claiming.             17   experts to come up with this computation.
    18       Q So we are on the same page, what damages             18       Q What information did you provide to the
    19   is Cuyahoga County claiming that are not reflected         19   lawyers or the experts such that they could arrive
    20   in this chart?                                             20   at this figure?
    21       A So in this same document that you provided           21       A The documents that I provided are
    22   to me, on page seven the county discusses its              22   identified in Exhibit 1 of this response to
    23   damages that it is seeking in this case, which             23   Interrogatory Number 18. I can't really translate
    24   reflects both past damages from at least 2006 to           24   what these bates number means, but they include the
    25   present and ongoing damages for at least ten years.        25   county's annual financial statements, the county

                                                                                                          21 (Pages 78 - 81)
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                                                      Page 82                                                     Page 84
     1   budget plans, the county recommended budget books       1       Q Who does have that data?
     2   and some other financial reports.                       2       A The county treasurer.
     3       Q Which of those documents were used by the         3       Q What specific data does the county
     4   attorneys or the experts to arrive at an                4   treasurer have?
     5   $850 million figure for quote, "past and ongoing        5       A The county treasurer is responsible for,
     6   loss tax revenue"?                                      6   they mail the tax bills and they collect the taxes.
     7       A I can't answer that. I wasn't part of the         7              So through their system, which the
     8   calculation.                                            8   acronym is MVP, and I'm sorry I don't know what that
     9       Q Have you undertaken yourself to calculate         9   stands for. We can determine which properties are,
    10   the tax revenue that Cuyahoga County lost because of   10   if that's what you're asking, which properties are
    11   the opioid problem?                                    11   delinquent in paying their property taxes.
    12       A No, I have not. That's beyond the scope          12       Q No, I'm not asking about which properties
    13   of what the county has done.                           13   are delinquent --
    14       Q Have you asked anyone else to do such a          14       A I'm sorry.
    15   calculation?                                           15       Q I'm asking which property generated
    16       A The county has asked its lawyers to do           16   property tax revenue in the past, but are not
    17   that, but nobody else suffered from that.              17   generating property tax revenue now, for any reason?
    18       Q Have you asked anyone else to do such a          18       A Um, I'm honestly, I cannot definitively
    19   calculation?                                           19   say they can query that in MVP. I'm guessing they
    20       A No, I have not.                                  20   can, but they would have to know the date, you know,
    21       Q To your knowledge, has anyone, besides the       21   when you say they generated it in the past. What
    22   county lawyer and experts in this case, undertaken     22   date are you referring to and then now. I assume
    23   to calculate what tax revenue has been lost as a       23   you are talking about 2008. We need to know the
    24   result of the opioid problem?                          24   dates, I'm sorry, but I'm not sure that MVP can,
    25       A Not to my knowledge, no.                         25   that you can query saying show me every property. I
                                                      Page 83                                                     Page 85
     1       Q This figure of 850 million is for past and        1   think you would have to look it up by parcel number,
     2   ongoing lost tax revenue.                               2   which is how we identify properties in the county.
     3             Do you see that?                              3       Q Because each property has a unique parcel
     4       A I do.                                             4   numbers, correct?
     5       Q How much of that 850 million is past lost         5       A They do, that's correct.
     6   tax revenue?                                            6       Q So you could look for each period of time
     7       A I don't have that data.                           7   for each parcel number what property tax had been
     8       Q How much of that 850 million is ongoing           8   collected or not?
     9   tax revenue that's lost?                                9       A That's correct.
    10       A I don't have that data either.                   10          MR. BADALA: Objection, outside the scope.
    11       Q What tax revenue is included in this             11       Q (Mr. Keyes) You mentioned that one reason
    12   $850 million figure?                                   12   why a property may not be generating property tax
    13       A It is my understanding that this is              13   revenue now, even though it did in the past, is
    14   property tax revenue.                                  14   because the property owner is delinquent in making
    15       Q Do you have an understanding of any other        15   payments, correct?
    16   types of tax revenue is included in this figure?       16       A Yes.
    17       A Not to my knowledge, no.                         17       Q Are there other reasons why a property may
    18       Q How many properties in Cuyahoga County           18   no longer be generating property tax for Cuyahoga
    19   generated property tax in the past, but are no         19   County, even though it did in the past?
    20   longer generating property tax?                        20          MR. BADALA: Objection, outside the scope.
    21       A I don't have have that data.                     21       A Yes.
    22       Q Which properties in Cuyahoga County are no       22       Q (Mr. Keyes) What are those reasons?
    23   longer generating property tax even though they did    23       A The property could have received an
    24   in the past?                                           24   abatement, a tax abatement. That's a tool that
    25       A I don't have that data.                          25   cities use largely as an economic development tool.

                                                                                                    22 (Pages 82 - 85)
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                                                       Page 86                                                      Page 88
     1             The property also could have gone              1   generating less property tax now than they did in
     2   from taxable to not taxable as a result of               2   the past, correct?
     3   charitable status. For example, in the last couple       3          MR. BADALA: Objection to form, outside
     4   of years we have had properties owned by the             4   the scope.
     5   Cleveland Clinic that went from taxable to               5      A Yes, that is correct.
     6   nontaxable. So previously those properties would         6      Q (Mr. Keyes) And what are the reasons why
     7   have been generating property taxes, but if you look     7   that could happen?
     8   today, they're not.                                      8      A Um, it could be a result of the properties
     9      Q Any other reasons you can identify?                 9   value decreasing. So as an example, five years ago
    10      A Not off the top of my head, but I'm not            10   a property had on it a large commercial building
    11   the county treasurer.                                   11   that was profitable, profitability is part of the
    12      Q And are there additional reasons why               12   calculation when you are calculating commercial
    13   properties that generated greater property tax in       13   property taxes or property values. And now if the
    14   the past are now generating less property tax?          14   property is dormant or the building has been
    15          MR. BADALA: Objection, outside the scope.        15   demolished or in is complete disrepair, the value of
    16      A I don't believe I have provided any                16   the property likely will have gone down. Therefore,
    17   reasons why they would be generating less property      17   the tax receipts are going to go down assuming that
    18   tax.                                                    18   the owner is still paying taxes.
    19      Q (Mr. Keyes) Right. You have given me               19             Um, that's really the only reason I
    20   reasons so far why a property may have generated        20   can think of is that the value of the property has
    21   property tax in the past.                               21   decreased.
    22      A Right.                                             22      Q And you have identified several reasons
    23      Q But is no longer generating property tax,          23   why the assessed value for a particular property
    24   correct?                                                24   could go down, correct?
    25      A Right.                                             25          MR. BADALA: Objection, outside the scope.
                                                       Page 87                                                      Page 89
     1       Q You have identified, I think, three                1      Q (Mr. Keyes) You said the property --
     2   reasons, correct? You said number one, because the       2      A Yeah, yeah.
     3   property owner may be delinquent in paying, correct?     3      Q The property could have been demolished?
     4       A That's correct.                                    4      A That's correct.
     5       Q A second reason is there may be abatement          5      Q You said it could have be dormant?
     6   where the county has made the decision to give the       6      A That's correct.
     7   property owner tax relief that excuses it from           7      Q And for a commercial property, the
     8   paying property tax for some period of time?             8   profitability of the property could go down?
     9       A Yes, but if I can just correct you, it is          9      A You're right, that's correct.
    10   not the county that makes that decision, it is the      10      Q So those are multiple reasons why
    11   cities.                                                 11   particular properties could have a lower assessed
    12       Q So the cities can do that?                        12   valuation than they did in the past?
    13       A That's correct.                                   13      A Yes, that's correct.
    14       Q And the third reason you gave me is that a        14      Q Are there also economic factors that can
    15   decision could have been made to convert the            15   cause the assessed valuation of properties for
    16   property status from taxable to nontaxable?             16   entire areas to go down?
    17       A That's correct.                                   17          MR. BADALA: Objection, outside the scope.
    18       Q Are there any other reasons you can               18      A That's correct.
    19   identify sitting here now why a property that           19      Q (Mr. Keyes) What are those reasons or
    20   generated property tax in the past is no longer         20   factors?
    21   generating property tax?                                21      A When the county does its appraisal, the
    22       A No, not to my knowledge.                          22   appraise values do have to fall in line with what
    23       Q Okay. Then separate from a property going         23   the State of Ohio would have. They identify kind of
    24   from generating property tax to not generating          24   the low and the high. What we come up with does
    25   property tax, you could have properties that are        25   have to fall within here, otherwise, we have issues

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                                                         Page 90                                                      Page 92
     1   with the state.                                            1   property tax, correct?
     2             And so the overall economic condition            2       A That's correct.
     3   of the county is taken into consideration. Now, I          3       Q Any other adverse economic impacts that
     4   cannot provide you more detail than that. I don't          4   the great recession had on Cuyahoga County's sources
     5   do the appraisals, but certainly if the City of            5   of revenue?
     6   Cleveland, you know, we lose our major businesses          6          MR. BADALA: Objection, outside the scope.
     7   that are headquartered here, we lose overall               7       A Um, so yes. One of our sources of
     8   economic activity, that's likely going to be               8   revenue, a relatively large source of revenue is
     9   reflected in the value of our property, that's             9   investment income. When I started with the county
    10   correct.                                                  10   back in 2006, we were earning approximately
    11       Q Did Cuyahoga County experience the great            11   $35 million a year in investment income on our
    12   recession?                                                12   overall portfolio.
    13          MR. BADALA: Objection, outside the scope.          13             In the last couple years our income
    14       A We did.                                             14   went down. One year we had negative earnings. This
    15       Q (Mr. Keyes) When?                                   15   past year we generated approximately 15 million, but
    16       A Um, we started experiencing, well, we               16   we're down substantially from where we were in the
    17   started to cut budgets beginning in 2008.                 17   past.
    18       Q And when did the great recession end in             18             Also the county receives
    19   Cuyahoga County?                                          19   approximately, in today's amounts about $19 million
    20          MR. BADALA: Objection, outside the scope.          20   a year from the local government fund, which comes
    21       A That's not a question, that's a question            21   from the State of Ohio, and that's a percentage of
    22   for an economist, that's not a question I can             22   all taxes collected. And when times are tough,
    23   answer.                                                   23   people don't always pay their taxes.
    24       Q (Mr. Keyes) Did the great recession have            24             Again, when I started back in 2006 in
    25   adverse economic impacts on Cuyahoga County?              25   the county, we were getting an allocation of about
                                                         Page 91                                                      Page 93
     1          MR. BADALA: Objection, outside the scope.           1   $35 million. I think at its high it was about
     2       A Absolutely.                                          2   $40 million. And as I said earlier today, last year
     3       Q (Mr. Keyes) What were those adverse                  3   we received $19 million. So we have seen some
     4   economic impacts?                                          4   pretty substantial losses in revenue.
     5          MR. BADALA: Same objection.                         5       Q (Mr. Keyes) Is Cuyahoga County claiming
     6       A That affected the county's, so it affected           6   as a category of damages in this case lost sales tax
     7   the county in two ways. One is on our sources of           7   revenue?
     8   revenue and the other would be on our expenditures.        8       A No, I don't believe so.
     9             As it relates to revenue, we saw                 9       Q For what period of time did Cuyahoga
    10   lower than, either a decrease in our sales tax            10   County's assessed valuations of property remain
    11   revenue or an increase in sales tax revenue that was      11   depressed because of the great recession?
    12   less than the State of Ohio or what we would see in       12          MR. BADALA: Objection to form, outside
    13   other jurisdictions outside of Ohio.                      13   the scope.
    14             We also saw a decrease in our                   14       A So the county conducts appraisals every
    15   property values, which impacts property taxes             15   three years. And then every six years, which is, it
    16   generated and the general fund of the county does         16   is done mostly by computers. It is an in-house
    17   receive property tax revenue approximately                17   appraisal. Then every six years we conduct a
    18   $13 million a year comes from property taxes. We          18   comprehensive sexennial appraisal where we go out
    19   will say the majority of property tax collected by        19   into the community, they are doing drivebys, they're
    20   the county are distributed to cities, schools,            20   looking at properties. So we just completed the
    21   libraries. We don't retain the majority of property       21   sexennial appraisal in 2008.
    22   taxes.                                                    22             The previous one that was completed
    23       Q (Mr. Keyes) You said the great recession            23   three years ago, values went down from the last
    24   had an adverse economic impact on Cuyahoga County's       24   time. And then three years prior to that, values
    25   sources of revenues referring to sales tax and            25   had also decreased. So that would be 2012 we had

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                                                        Page 94                                                      Page 96
     1   decreases in value.                                       1   delinquency rate?
     2      Q Do I understand you correctly that the               2      A The delinquency rate captures what
     3   property values decreased between 2009 and 2012?          3   percentage have property owners are delinquent in
     4          MR. BADALA: Object to the form, outside            4   paying their taxes, their property taxes.
     5   the scope.                                                5      Q How often do you monitor the delinquency
     6      A Yes.                                                 6   rate?
     7      Q (Mr. Keyes) And the property values                  7      A We collect taxes twice a year. So every
     8   continued to decrease between 2012 and 2015?              8   time we complete the tax collection, I will ask and
     9          MR. BADALA: Objection, outside the scope.          9   I get a report anyway, but that says what the rate
    10      A Yes.                                                10   delinquency was.
    11      Q (Mr. Keyes) But that property values                11      Q Who do you get the report from?
    12   increased in Cuyahoga County between 2015 and 2018?      12      A The budget Commission.
    13      A On a whole they did, yes. Obviously, we             13      Q Who at that Budget Commission provides
    14   have some property that decrease, we have some           14   this report to you?
    15   communities that decrease, but on a whole property       15      A The director of the Budget Commission is
    16   values did increase in 2018.                             16   Brian Dunn, D-U-N-N.
    17      Q When we're talking about property values            17      Q And does the Budget Commission itself
    18   decreasing or increasing, we're talking about the        18   prepare the delinquency rate?
    19   assessed valuations of those properties, correct?        19      A That data is generated by the County
    20      A That's correct.                                     20   Treasurer's Office.
    21      Q In the past, have you undertaken any                21      Q The data is generated by the County
    22   effort to identify the impact of any particular          22   Treasurer's Office?
    23   factors on Cuyahoga County's property tax receipts?      23      A That's correct.
    24          MR. BADALA: Objection, outside the scope.         24      Q Does the County Treasurer then calculate
    25      Q (Mr. Keyes) The only factor that I will             25   the delinquency rate?
                                                        Page 95                                                      Page 97
     1   collect data on is the delinquency rate. I have not       1          MR. BADALA: Objection, outside the scope.
     2   undertaken to research why values go up or down.          2       A You know, I'm not entirely sure who
     3   But in terms of receipts, I do monitor the                3   physically does the percentage calculation.
     4   delinquency rate. That's kind of an indicator of          4       Q (Mr. Keyes) You don't know sitting here
     5   where, how we are doing as a community. If the            5   today who calculates the delinquency rate?
     6   delinquency rate increases substantially, we know we      6          MR. BADALA: Objection, outside the scope.
     7   have a problem.                                           7       A I don't know whether the percentage is
     8      Q Have you asked anyone else to identify why           8   calculated by the system or individual, no.
     9   assessed values in Cuyahoga County go up or down?         9       Q (Mr. Keyes) But you get the delinquency
    10          MR. BADALA: Objection to form.                    10   rate once it is calculated from Brian Dunn who is
    11      A No, I have not.                                     11   director of the budget commission?
    12      Q (Mr. Keyes) To your knowledge, has anyone           12       A Yes, that's correct.
    13   else for Cuyahoga County attempted to identify why       13       Q Then every six months you can see what the
    14   assessed values in Cuyahoga County go up or down?        14   delinquency rate is and how it compares to prior
    15          MR. BADALA: Objection to form.                    15   periods?
    16      A So if we're talking about property                  16       A Yes, that's correct.
    17   specifics, the appraisers, of course, do research        17       Q What do you do with the delinquency rate
    18   why values go up or down. And again the factors          18   once you see what it is and how it compares to prior
    19   that I had mentioned before, if you go from taxable      19   periods?
    20   to nontaxable, we will look at that. But if you're       20          MR. BADALA: Objection, outside the scope.
    21   asking about kind of just an overall how come they       21       A Um, usually I report it. So as I
    22   went down in 2012, how come they went up in 2018,        22   mentioned before, we prepare quarterly forecasts,
    23   no, not looking at the overall economy.                  23   that we prepare, you know, books that go along with
    24      Q (Mr. Keyes) Earlier you said you do                 24   it. And usually I try to report the delinquency
    25   monitor the delinquency rate. What is the                25   rate so that the county council, the county

                                                                                                       25 (Pages 94 - 97)
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                                                         Page 98                                                        Page 100
     1   executive, and the public, whoever reads it, can see       1       A Yes.
     2   if our property tax collections are going up and           2       Q And you attribute it to the general
     3   down. The delinquency rate is a factor in that.            3   economy?
     4        Q (Mr. Keyes) You say you usually report              4          MR. BADALA: Objection to form.
     5   it, to whom?                                               5       A I do.
     6        A I usually include it in my updates, which           6       Q (Mr. Keyes) Has the delinquency rate gone
     7   are the documents prepared for the quarterly               7   up in any year since 2015?
     8   forecasts.                                                 8       A So I'm not confident in saying that the
     9        Q And these are the quarterly forecasts that          9   rate has gone up since 2015 because it may have been
    10   you provide to the county executive and the county        10   since 2014. But for the last several years the
    11   council?                                                  11   delinquency rate has been, it fluctuates, but it has
    12        A That's correct.                                    12   remained relatively unchanged.
    13        Q Do you undertake any study to determine            13       Q We're still on page 17 of Exhibit 3, which
    14   why the delinquency rate is going up or down              14   is plaintiff also seeks the following past and
    15   compared to prior periods.                                15   ongoing lost tax revenue in the amount of
    16           MR. BADALA: Object to form, outside the           16   approximately $850 million.
    17   scope.                                                    17              Are you able to tell me anything
    18        A No, I don't.                                       18   about how that number is arrived at by Cuyahoga
    19        Q (Mr. Keyes) Do you have anyone else                19   County?
    20   conduct such a study?                                     20          MR. BADALA: Objection to form.
    21           MR. BADALA: Same objection.                       21       A The county did not calculate this number,
    22        A As to why the delinquency rates might              22   so, no, I can't tell you the methodology.
    23   fluctuate.                                                23       Q (Mr. Keyes) Do you know any of the inputs
    24        Q (Mr. Keyes) Yes, ma'am.                            24   that were considered by whoever did prepare this
    25        A No.                                                25   calculation?
                                                         Page 99                                                        Page 101
     1       Q To your knowledge, does anyone else in the           1          MR. BADALA: Objection to form.
     2   Cuyahoga County government undertake to study why          2       A I know that one of the inputs would have
     3   the delinquency rate is going up or down compared to       3   been our actual tax receipts. I do report property
     4   prior periods?                                             4   tax revenue in our budget plans, and those were
     5          MR. BADALA: Same objection.                         5   identified in the Exhibit 1 to this document, but I
     6       A Not to my knowledge.                                 6   don't know what other data were used to come up with
     7       Q (Mr. Keyes) And do you have an                       7   the $850 million.
     8   understanding over the past say ten years what             8       Q (Mr. Keyes) Would you turn your attention
     9   factors cause the delinquency rate to go up or down        9   to the chart?
    10   during particular periods?                                10       A Yes.
    11          MR. BADALA: Object to the form.                    11       Q Are you there?
    12       A The delinquency rate did go up. I can't             12       A Yes.
    13   cite to you specific years, but I would say               13       Q Okay. And there are dollar figures for
    14   somewhere between probably 2010 to 2015, within that      14   each year from 2006 to 2027, correct?
    15   window of years, the delinquency rate did increase.       15       A That is correct.
    16   We just kind of antidotally did have to do with the       16       Q From 2006 to 2017, these are listed as
    17   economy around us.                                        17   past department related costs, right?
    18             Cleveland has been in a state of                18       A They are related as department, yeah, past
    19   rebuilding, so we are a little bit better today than      19   department related costs.
    20   we were in 2009 and 2010, but no, I don't study it.       20       Q And then for 2018 through 2027 they are
    21   I'm not aware of anyone in the county that does any       21   listed as ongoing department related costs, correct?
    22   real analytical research on it.                           22       A That's correct.
    23       Q Sitting here today, you recall that the             23       Q Did you prepare this chart?
    24   delinquency rate increased at some point between          24       A No, I did not.
    25   2010 and 2015?                                            25       Q Who did?

                                                                                                        26 (Pages 98 - 101)
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                                                        Page 102                                                     Page 104
     1       A This chart was prepared by the county's              1       Q And so Children and Family Services is a
     2   attorneys, I believe, working with experts.                2   division of the Department of Health and Human
     3       Q Have you spoken with the experts about the           3   Services?
     4   chart?                                                     4       A Yes, that's correct.
     5       A No, I have not.                                      5       Q And the sheriff, sheriff only and sheriff
     6       Q Did you undertake to learn anything about            6   jail only divisions are divisions of the sheriff's
     7   the data in this chart as you were preparing for           7   agency?
     8   today's deposition?                                        8       A That's correct.
     9       A No, I did not.                                       9       Q Okay.
    10       Q Did you speak with anyone about any of the          10       A Just as an example, like the prosecutor
    11   figures that are listed in this chart?                    11   has four divisions, public defender has three
    12          MR. BADALA: Objection, just want to                12   divisions. So agencies for ease of reporting and
    13   caution the witness not to discuss anything that          13   transparency, we do try to break them up based on
    14   might have been discussed with attorneys in               14   their activity.
    15   preparation.                                              15       Q Earlier we talked about two of the line
    16       A I spoke to the county's attorneys.                  16   items here, right? Sheriff, sheriff only, and
    17       Q (Mr. Keyes) What did you learn from the             17   sheriff jail only, correct?
    18   county's attorney to prepare for the today's              18       A That's correct.
    19   deposition as the corporate representative of             19       Q Okay. So starting with sheriff jail only,
    20   Cuyahoga County?                                          20   do you see the dollar figures listed for each year
    21       A I didn't learn anything in forming my               21   from 2006 all the way through 2017?
    22   testimony.                                                22       A Yes.
    23       Q Okay. So there are a number of line                 23       Q Do you know how those numbers were arrived
    24   items. Each line item is described as a division,         24   at?
    25   is that a technical term?                                 25       A No, I do not.
                                                        Page 103                                                     Page 105
     1      A That's not a technical term. These, um,               1       Q Do you know what costs are included in the
     2   this is a combination of both divisions and agencies       2   sheriff jail only line item?
     3   and departments.                                           3       A I know that these costs would include both
     4      Q Which of the entities listed here are                 4   personnel and nonpersonnel expenses. But I don't
     5   agencies as opposed to divisions?                          5   know, you know, the specific expenditures or
     6      A The ADAMHS Board is an agency, Children               6   transactions, no.
     7   and Family Services is a division of the Department        7       Q How much of each figure is for personnel
     8   of Health and Human Services, prosecutor and public        8   expenses?
     9   defender, Common Pleas and juvenile court are all          9       A I can't tell you that. I can just tell
    10   agencies. The sheriff is, these are divisions             10   you that the jail budget includes, it is largely
    11   because it is saying sheriff only and then jail           11   personnel heavy, but there are other expenses there,
    12   only.                                                     12   but I don't know. For example, in 2017, the number
    13              The medical examiner is an agency.             13   is 8 million. I can't tell you how that's broken
    14      Q So if I understand you correctly, the                14   out.
    15   ADAMHS Board, prosecutor, public defender, Court of       15       Q So you don't know how much of each figure
    16   Common Pleas, juvenile court, and medical examiner's      16   is for personnel versus nonpersonnel experiences?
    17   office?                                                   17       A No, I don't know that.
    18      A That is correct.                                     18       Q For the nonpersonnel expenses, what costs
    19      Q Children and Family Services, sheriff,               19   or categories of costs are included in that for the
    20   sheriff only, and sheriff jail only are divisions?        20   sheriff jail only line?
    21      A Yes, that's correct.                                 21       A I can't tell you that.
    22      Q What is the difference between an agency             22       Q Do you know any of the categories of costs
    23   and a division?                                           23   of nonpersonnel expenses or sheriff jail only?
    24      A A division is a lower level of reporting             24       A I know categories of costs in the budget,
    25   within a larger agency.                                   25   but not in this $8 million figure. Again, looking

                                                                                                    27 (Pages 102 - 105)
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                                                      Page 106                                                       Page 108
     1   at 2017.                                                 1   lines how much of that is for personnel expenses,
     2       Q What steps were taken to insure that the           2   you are going to tell me, I don't know?
     3   nonpersonnel expenses that are included in this          3      A That's correct.
     4   sheriff jail only line are expenses that are             4      Q And if I ask you how much of that is for
     5   incurred only because of the opioid problem?             5   nonpersonal expenses, you are going to tell me you
     6       A I can't answer that question. I wasn't a           6   don't know?
     7   part of the calculation.                                 7      A That's correct.
     8       Q What costs or categories of costs are              8      Q If I ask you what are the specific costs
     9   included in the personal expenses component of the       9   or category of costs within the nonpersonnel
    10   sheriff jail only line?                                 10   expenses of that line item, you are going tell me
    11       A Again, you are specifically referring only        11   you don't know?
    12   to this, right? I can't tell you that. I wasn't         12      A That is correct.
    13   included in the calculations.                           13      Q If I ask you what are the costs or
    14       Q What steps were taken to insure that the          14   category of costs within the personnel expenses
    15   personnel expenses that are included in this sheriff    15   component of the line, you are going to tell me you
    16   jail only line, are expenses that were incurred only    16   don't know?
    17   because of the opioid problem?                          17      A That's correct. I can only answer those
    18       A I can't tell you that. I wasn't included          18   questions, excuse me, as it relates to the total
    19   in this. I can't even definitively tell you that it     19   budget.
    20   includes personnel costs. I can only tell you that      20      Q What do you mean as it relates to the
    21   the jail budget includes personnel costs.               21   total budget?
    22       Q But you did understand that you were              22      A I can tell you what personnel expenses are
    23   testifying as a corporate representative on damages     23   included in the jail budget, I can tell you what
    24   today, right?                                           24   nonpersonnel expenses are included in the jail
    25       A Yes, that's correct.                              25   budget. What I cannot tell you is specific to
                                                      Page 107                                                       Page 109
     1       Q And you did understand that part of the            1   opiates and the damages claimed here of that
     2   damages being claimed by Cuyahoga County are the         2   8 million, how much is attributed to personnel and
     3   ones listed in this chart, correct?                      3   how much is attributed to something else.
     4       A That is correct.                                   4      Q So why don't we take a step back. You
     5       Q And you reviewed the chart to prepare for          5   understood that you were here to testify as the
     6   today's deposition, correct?                             6   corporate representative for Cuyahoga County on the
     7       A That's correct, I did.                             7   damages claimed by the plaintiffs, correct?
     8       Q In fact, you said you had two prep                 8      A That's correct.
     9   meetings with the lawyers to prepare for today's         9         MR. BADALA: I just want to note for the
    10   deposition and you reviewed this in both meetings,      10   record we had our responses and objections as one of
    11   correct?                                                11   the exhibits in this folder, and Miss Keenan would
    12       A Yes.                                              12   be deposed subject to her responses and objections.
    13       Q Did you learn anything at all about what          13      Q (Mr. Keyes) So what can you tell me about
    14   is included in the dollars listed for sheriff jail      14   the damages being claimed by Cuyahoga County in this
    15   only?                                                   15   lawsuit?
    16       A No, I did not.                                    16         MR. BADALA: Objection to form, asked and
    17       Q Did you learn that for any of the lines           17   answered.
    18   here?                                                   18      A I can answer questions relative to the
    19       A No.                                               19   county budget. I can answer questions to our
    20       Q Okay. So if I ask a series of questions           20   sources of revenue. I can answer questions about
    21   about the dollars listed for any of the other lines,    21   how we spend our money. I can tell you that a
    22   you are going to tell me, again, you don't know?        22   portion of our budget is attributed, excuse me, to
    23          MR. BADALA: Objection to form.                   23   the opiate epidemic. I cannot answer for you
    24       A That's what I'm going to tell you.                24   specific questions about the dollar figures that are
    25       Q (Mr. Keyes) If I ask you for any of these         25   included in the table in Exhibit 2.

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                                                       Page 110                                                   Page 112
     1      Q (Mr. Keyes) My last question is not                  1   costs have increased exponentially.
     2   specific to the dollar figures in the table or even       2       Q Will you keep in my my question?
     3   the table. My question is, the damages claimed by         3       A I am.
     4   Cuyahoga County are a discreet topic, separate from       4       Q So what money has been spent by Cuyahoga
     5   the other topics you listed. So what can you tell         5   County because of the opioid problem?
     6   me as the Cuyahoga County corporate representative        6          MR. BADALA: She's answering the question.
     7   about the damages being claimed by the county in          7       A This is money that has been spent by
     8   this lawsuit?                                             8   Cuyahoga County because of the opiate epidemic.
     9      A I can tell you how the county spends its             9   Every child we take in whose parent tested positive
    10   money, that's what I can tell you.                       10   for prescription opiates and cannot care for their
    11      Q Okay. So what money has been spent by               11   children, the county spends money.
    12   Cuyahoga County because of the opioid problem?           12             The prosecutor's office spends money
    13      A A portion of ADAMHS budget has been spent           13   on, they are almost exclusively personnel,
    14   on combating the opioid epidemic. As I mentioned         14   prosecutor, but they are spending money not only in
    15   before, ADAMHS provides treatment services, they         15   the general office on prosecutors who are
    16   provide housing. When I say provide, I mean they         16   prosecuting criminal cases. And our criminal case
    17   fund. Housing, job readiness services and other          17   filings have increased every year for the last
    18   supportive services to assist individuals who are        18   several years, with the exception of 2018 we
    19   drug dependent.                                          19   remained flat, but three years before that we were
    20             And the county contributes a                   20   increasing substantially in criminal case filings.
    21   substantial portion of its health and human services     21             The prosecutor's office also is the
    22   levy revenue to the ADAMHS Board to aid in what they     22   one responsible for taking children legally from
    23   are trying to accomplish.                                23   their homes and placing them in out of home
    24             Division of Children and Family                24   placements. We have had to add several prosecutors
    25   Services is approximately a $150 million agency. It      25   to that division because they can't keep up the
                                                       Page 111                                                   Page 113
     1   is a mandated service of the county and we are            1   caseload. We are mandated by law to respond to
     2   responsible for providing services and care to            2   these cases in a certain period of time.
     3   children who are at risk of abuse and neglect.            3             The public defender has incurred
     4              Children and Family Services has seen          4   costs because, again, as I said the number of cases
     5   a year over year increase in the number of children       5   has increased year over year. The public defender
     6   that have come into placement and the number of           6   also largely a personnel heavy office. They have
     7   families that the county is serving even while the        7   approximately, I believe, 100 attorneys working for
     8   children are remaining in those homes.                    8   either the public defender's office. Court of
     9              Several years ago we were looking at           9   Common Pleas we have had to provide additional
    10   placement counts of approximately 1,200, 1,300, we       10   funding to cover their expenses. Again, increase in
    11   have gone up to 1,600. That's substantial for the        11   caseloads.
    12   county.                                                  12             We are the busiest court in the State
    13              The number of children who are                13   of Ohio, even though we are no longer the most
    14   eligible for adoption, which means their family are      14   populous county. The Court of Common Pleas has
    15   unable to care for them permanent has increased. We      15   personnel costs and they also have costs for
    16   are at a record high right now. I believe as of          16   treatment services with nonprofit entities and
    17   last week we have 600 children in this county alone      17   halfway houses.
    18   who cannot go back to their family.                      18             So that ideally when we have
    19              Children of Family Services spends            19   individuals who are presented to the court, who have
    20   about $60 million a year on board and care costs for     20   drug addiction problems and mental health problems,
    21   kids who are taken out of their homes and cannot go      21   we are not keeping them in the jail. Our jail is
    22   to foster homes because they have suffered too many      22   the largest mental health facility and we prefer not
    23   traumas. We also spend millions of dollars a year        23   to have it that way.
    24   on foster homes, which is what you typically think       24             So the Common Pleas Court spends a
    25   of when we pay families to take children. And our        25   considerable amount of money every year on trying to

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                                                     Page 114                                                      Page 116
     1   find other places where these individuals can go so     1   National Association of Medical Examiners. That
     2   that they're not being denied bail and staying in       2   accrediting body requires that pathologists perform
     3   our jail.                                               3   no more than 250 autopsies per year. We have been
     4              Juvenile court has seen a substantial        4   cited in the last couple years because we have had
     5   increase in the number of the abuse dependency and      5   at least three of our pathologists, I believe, who
     6   neglect filings. So when the county does have to        6   have gone over or very, very, close to going over
     7   file to take a child from his home, we do that in       7   that 250 number.
     8   the juvenile court. Those case filings have             8              So we did have to hire a new
     9   increased almost 100 percent over the last couple       9   pathologist. We've also had to provide additional
    10   years.                                                 10   funding to deal with the testing result, the
    11              Every child that presents to juvenile       11   toxicology test. So every time someone comes in on
    12   court for an ADM case is given a guardian ad litem     12   an overdose, we are running toxicology test on them.
    13   by law. And our guardian add litem expenses have       13              It is extraordinarily expensive and
    14   also increased every year. We are now paying           14   the medical examiner has had to pay for that and
    15   $2 million a year for GAL costs. Those come out of     15   that's coming from the general fund. And these are
    16   our health and human services levies, devoted levy.    16   the are the agencies that we have identified as
    17   We like to think we should be doing something else     17   having incurred costs directly related to the opiate
    18   with that money.                                       18   epidemic.
    19              Um, the sheriff, as I mentioned             19          MR. BADALA: Okay. So we have gone over
    20   before, for sheriff only largely talking about the     20   an hour, do you want to take a break?
    21   deputies. The cost of deputy overtime has increased    21       A I'm okay.
    22   as a direct result of the opiate epidemic due to the   22       Q (Mr. Keyes) Okay. Turning then your
    23   number of inmates in our county jail who are coming    23   attention to the first line here, the ADAMHS Board.
    24   in opiate addicted and that has increased, again,      24   For how long has Cuyahoga County been contributing
    25   substantially over the years.                          25   funds to the ADAMHS Board?
                                                     Page 115                                                      Page 117
     1             These are needy inmates. They are             1          MR. BADALA: Objection to form.
     2   medically fragile and the county once they come into    2      A I can't answer that off the top of my
     3   our custody, we are responsible for taking care of      3   head. I'd have to look at documents, but at least
     4   them.                                                   4   going back to 2006, which is when I started.
     5             For a period of time they had to go           5      Q (Mr. Keyes) And how --
     6   offsite for treatment which requires two deputies to    6      A I'm sorry, I do want to note just for the
     7   transport them every time they left. If they            7   record that back in 2006 the ADAMHS Board didn't
     8   overdose because they have come into our custody,       8   exist. We had mental health board and a drug
     9   they are already taking something. We have to take      9   addiction board, alcohol and drug addiction.
    10   them to the hospital, deputies have to sit on them     10      Q Which were combined to perform the ADAMHS
    11   for 24 hours, you know, if it is at least 24 hours,    11   Board?
    12   you have to put more deputies on them. Our costs       12      A They were, that's correct.
    13   are going up.                                          13      Q So before the ADAMHS Board existed, there
    14             In the jail the medical costs, which         14   were two prior agencies that also received funding
    15   I just described, has been increasing every year       15   from from Cuyahoga County?
    16   because the inmates that we are seeing they are        16      A That's correct. We funded both of them.
    17   coming in, we have never experienced the number of     17      Q What steps were taken in arriving at the
    18   addicts coming into our jail that we are               18   figures that are listed here for the ADAMHS Board to
    19   experiencing right now and the county has to deal      19   limit the damages to expenses incurred in providing
    20   with that once they come into our custody. So our      20   services to people who had an opioid use disorder or
    21   medical costs are through the roof.                    21   were addicted to opioids because of their use of
    22             Finally, in the medical examiner's           22   prescription opioids?
    23   office we have had to increase funding because we      23          MR. BADALA: Objection to form.
    24   have had to hire additional pathologists. Our          24      A I can't answer that question. I was not
    25   medical examiner's office is accredited by the         25   involved in the calculation of the portion of the

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                                                      Page 118                                                       Page 120
     1   budget.                                                  1   in the Division of Children and Family Services will
     2      Q (Mr. Keyes) What documents do you or does           2   include the costs of the placements themselves.
     3   Cuyahoga County have that match up the dollars that      3             So we have to pay per diems to the
     4   Cuyahoga County gives to the ADAMHS Board with the       4   residential treatment facilities, the group homes.
     5   specific services provide the specific people needs      5   We pay monthly stipends to the foster families, we
     6   specific criteria?                                       6   also provide supportive services for the children,
     7      A The county doesn't have any document that           7   which could mean anything from we are paying for
     8   has the data you have just identified.                   8   their therapy, we are paying for medical care, we
     9      Q So you would have to go to the ADAMHS               9   are paying for, at one time we had a menu of options
    10   Board to figure out of the dollars contributed by       10   where kids could go for dancing or therapeutic
    11   Cuyahoga County in any particular year, how those       11   horseback riding or just something to help keep them
    12   dollars were spent and of those dollars which were      12   so that we could keep them stable and not disrupt
    13   spent on mental illness versus a non opioid drug        13   their placement.
    14   addiction versus an opioid addiction, correct?          14             It also includes, we have contracts
    15         MR. BADALA: Objection to form.                    15   throughout the neighborhoods of the City of
    16      A That is correct, yes.                              16   Cleveland and the inner ring suburbs where foster
    17      Q (Mr. Keyes) Turning then to the Children           17   families can go to receive supportive services.
    18   and Family Services line.                               18             So it is like peer counseling for one
    19      A Okay.                                              19   thing, but then we also provide money for the kids
    20      Q You said the number of placements has              20   clothes, for if they need school supplies, whatever
    21   increased over time?                                    21   they need. It could even be furniture to keep the
    22      A Yes, absolutely.                                   22   kid in that placement and to keep hopefully the
    23      Q Okay. Of the number, what is the                   23   foster family from sending them back.
    24   placement?                                              24       Q And which of all of those expenses are
    25      A I'm sorry. So a placement is when a child          25   included in these numbers for Children and Family
                                                      Page 119                                                       Page 121
     1   has been removed from their home. They will either       1   Services?
     2   be in a residential treatment facility for what we       2          MR. BADALA: Objection to form?
     3   refer to as dependent children, who have more severe     3       A As I said, I can't tell you that because I
     4   behavioral problems. They will be in a group home,       4   wasn't a part of calculating these numbers.
     5   they will be in a foster home, or they will be in        5       Q (Mr. Keyes) You said earlier that
     6   what's referred to as a kinship placement, which         6   sometimes the parents test positive for a
     7   means they are with family who are not licensed          7   prescription opiate, which leads to the removal of
     8   foster families.                                         8   the child from the home?
     9       Q So for the Children and Family Services            9       A I don't know if I said that. I don't know
    10   line item, how much of the dollar figures listed in     10   that I specifically said that.
    11   each year are for staffing of that division?            11       Q I said, so what money has been spent by
    12          MR. BADALA: Objection to form.                   12   Cuyahoga County because of the opioid problem. And
    13       A I can't, um, I can't say that. Again, I           13   you said it has been spent by Cuyahoga County
    14   wasn't a part of coming up with these figures.          14   because of the opiate epidemic. Every child taken
    15       Q (Mr. Keyes) For the non staffing                  15   from a parent who tested positive for prescription
    16   component of these dollar figures, what are those       16   opiates cannot care for their children and the
    17   costs, by description, not necessarily dollar?          17   county spends money.
    18       A Are you asking me for what the department         18             So what were you referring to when
    19   spends or included in these figures.                    19   you talked about parents testing positive for
    20       Q I want to know for the figures that are           20   prescription opiates?
    21   listed here for Children and Family Services, what      21       A It wouldn't be limited to prescription
    22   are the non staffing costs included?                    22   opiates. If we have parents who are testing
    23       A So I cannot confirm that non staffing             23   positive for drugs and they are unable to take care
    24   costs are included in these figures because I wasn't    24   of their children, then we will take the children.
    25   a part of calculating them. But non staffing costs      25   We don't automatically take children if the parents

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     1   are testing positive for drugs if it seems like the      1   ill, they are drug dependent or still occurring, but
     2   parent can adhere to the treatment plan and the          2   yes, we, I'm sure, have removed at least a child
     3   child is safe.                                           3   whose parent had no issues relative to prescription
     4              The worse thing you can do really is          4   opiates.
     5   to remove a child from their home. But sometimes,        5        Q (Mr. Keyes) And so who has the records
     6   of course, if the parent can't take them, we drug        6   that would need to be reviewed to determine why each
     7   test all the parents and they test positive for,         7   child was removed from a home?
     8   some of them are prescriptions opiates and if they       8           MR. BADALA: Objection, outside the scope.
     9   have prescriptions and they can demonstrate that         9        A The Division of Children and Family
    10   they're supposed to be taking this, that's fine. If     10   Services maintains those records until the child is
    11   they are not taking care of their children, we still    11   18, unless they are for some reason still have an
    12   have a duty to take the child and then, of course,      12   active plan with us.
    13   we have parents who test positive for illegal           13        Q (Mr. Keyes) And does the Division of
    14   substances.                                             14   Child and Family Services have a single record that
    15       Q What is standard for removing the child           15   tracks the number of children who have been removed
    16   from the home?                                          16   from the home because of the parents use of opioids,
    17          MR. BADALA: Objection, outside the scope.        17   either illicit opioids or prescription opioids?
    18       A I am not qualified to answer that                 18           MR. BADALA: Objection, outside the scope.
    19   question.                                               19        A Um, I have never seen that record. So I
    20       Q (Mr. Keyes) Are children removed from the         20   cannot tell you for sure. I do know that they do
    21   home and placed out of the home because of parents      21   track, of course, the data on why children are
    22   who are abusive?                                        22   removed because we do try to identify trends or if
    23          MR. BADALA: Objection, outside the scope         23   there's, you know, a certain neighborhood that seems
    24   and form.                                               24   to be, you know, you have an abnormally large number
    25       A They could be, yes.                               25   of removal. I have never seen a report like that,
                                                      Page 123                                                       Page 125
     1      Q (Mr. Keyes) Or because the parents have a           1   no.
     2   problem with mental illness?                             2      Q (Mr. Keyes) So what is the tracking that
     3          MR. BADALA: Same objection.                       3   you understand the Division of Children and Family
     4      A We do not remove children just because              4   Services does?
     5   their parents are mentally ill. The parents have to      5          MR. BADALA: Objection, outside the scope.
     6   demonstrate abuse, neglect, some other action that       6      A All I know is that they do track data on
     7   demonstrates they are incapable of taking care of        7   why children are being removed. I know we drug test
     8   their children.                                          8   parents. And so the results of those drug tests are
     9      Q (Mr. Keyes) And there are many instances            9   tracked and kept in the child's file in that we have
    10   where parents meet that standard, even though the       10   to keep, we have to keep that for at least 18, until
    11   parents do not have a drug addiction, correct?          11   they're 18 like I said.
    12          MR. BADALA: Objection to form, outside           12              I don't know, the Division of
    13   the scope.                                              13   Children and Family Services does have quite an
    14      A Meet the standard for removal?                     14   active unit for data analysis, but like I said, I
    15      Q (Mr. Keyes) Yes                                    15   don't know what they do.
    16      A Absolutely.                                        16      Q (Mr. Keyes) Has the Division of Children
    17      Q And there are many instances where parents         17   and Family Services hired additional personnel
    18   meet that standard for removal, even though the         18   because of the opioid problem?
    19   parents have never used prescription opiates,           19      A Yes, we believe that we have. We have
    20   correct?                                                20   hired additional social workers, our social workers
    21          MR. BADALA: Objection to form.                   21   are also working records amounts of overtime and
    22      A Um, I don't know, many is a subjective             22   that is a direct result of the increase in
    23   term, so I don't know about many. I do think that       23   caseloads, not only of the family served where the
    24   the majority of our families do have some sort of       24   children are remaining in the home, but also family
    25   behavioral health issue. Either they are mentally       25   served where the children have been removed from

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                                                         Page 126                                                   Page 128
     1   their home. According to the Division of Children           1   question of whether or how many social workers were
     2   and Family Services, opiates are a driving force            2   hired by the Division of Children and Family
     3   behind the increase in the number of placements.            3   Services in any particular year because of the
     4      Q How many additional social workers did the             4   opioid problem, where would you go?
     5   Division of Children and Family Services hire in            5       A To find out how many social workers were
     6   2014 because of the opioid problem?                         6   hired, I would go to the department, the Department
     7      A I don't have that data with me.                        7   of Human Resources. Um, whether that's because of
     8      Q Were any additional social workers hired               8   the opiate epidemic would be a question for Children
     9   in 2014 because of the opioid problem?                      9   and Family Services.
    10      A I don't have that data, I can't answer                10       Q And to be clear, it is not who or how many
    11   that question, I'm sorry.                                  11   were actually hired, it is how many additional slots
    12      Q How about in 2015?                                    12   were created in any year or social workers because
    13      A I don't know.                                         13   of the opioid problem would you also go to HR?
    14      Q How about in 2016?                                    14       A No.
    15      A I don't know.                                         15       Q Where would you go for that answer?
    16      Q How about 2017?                                       16       A It is just additional slots that were
    17      A I don't know.                                         17   created. We would know that because we, so we, I'm
    18      Q How about this year?                                  18   sorry, I mean the Office of Budget Management.
    19      A In 2018, 2019 or 2018?                                19       Q You would know not just how many slots
    20      Q Let's say 2018?                                       20   were created with budgeted dollars, you would know
    21      A In 2018, the division was provided funding            21   actually how many people, how many new slots were
    22   to hire an additional 12 or 15 social workers. I           22   created and filled?
    23   think it was 12, but I can't say for certain. Um,          23       A I would know how many slots were created.
    24   and that has been in process. So they have hired           24   To know how many slots were filled, I would want to
    25   additional social workers, unfortunately, this is a        25   defer to the Department of Human Resources because
                                                         Page 127                                                   Page 129
     1   position that has a high rate of turnover, and so we        1   the data that I track relative to personnel is
     2   bring them in and it seems sometimes that every time        2   hours. So I track FTEs, not bodies.
     3   we add a new staff person, we get a resignation from        3       Q And what has the Division of Children and
     4   somebody else.                                              4   Family Services done to keep the problem of overtime
     5       Q There was funding appropriated in 2018 to             5   under control?
     6   hire 12 to 15 additional social workers?                    6          MR. BADALA: Objection to form, outside
     7       A That's correct. In 2018 the department                7   the scope.
     8   received, well, overall they got more than, almost          8       A They have not kept the problem of overtime
     9   8 million in additional funding, but they did               9   under control. Overtime is very high.
    10   receive funding specifically for, again, I believe         10       Q (Mr. Keyes) Overtime is very high because
    11   it was 12 to 15 social workers and then we also            11   certain slots have not been filled, correct?
    12   received funding to hire some additional law               12          MR. BADALA: Objection to form.
    13   enforcement personnel who I believe were going to be       13       A Overtime is very high because the number
    14   contracted, like retired police officers to assist         14   of families that we are serving right now is at its
    15   the social workers.                                        15   highest.
    16       Q And how many of those 12 to 15 slots were            16       Q (Mr. Keyes) And not all the available
    17   filled in 2018?                                            17   slots have been filled?
    18       A I can't definitively say how many were               18          MR. BADALA: Objection to form, asked and
    19   filled in 2018. I know that all of them are at             19   answered.
    20   least in the process of being filled and some have         20       A That is correct. Yeah, absolutely.
    21   been filled, but I couldn't tell you exactly how           21          MR. KEYES: Let's take a ten minute break.
    22   many have been filled. And I also, I don't think I         22          THE VIDEOGRAPHER: It is 11:53, going off
    23   can tell you, you know, what year because we have          23   the record.
    24   some people come on in 2019.                               24              (Off the record.)
    25       Q If you wanted an accurate answer to the              25          THE VIDEOGRAPHER: It is 12:14, we are

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     1   back on the record.                                       1       A Yes. They are also involved in cases of
     2       Q (Mr. Keyes) Miss Keenan, turning your               2   child support, and they also, the prosecutor's
     3   attention to the prosecutor line on this chart.           3   office has a civil division. So that's the civil
     4       A Yes.                                                4   attorneys represent the county.
     5       Q Do you how any of the figures for that              5       Q And given the prosecutors fulfill those
     6   line were calculated?                                     6   different functions, what are the specific harms
     7       A Um, no, I do not. I was not part of the             7   incurred by Cuyahoga County because of the opioid
     8   calculation. That was done by the attorneys.              8   problem related to prosecutors?
     9       Q This refers to prosecutors who prosecute            9       A That's identified in this table.
    10   criminal cases, correct?                                 10             So, for example, in 2017, the harm to
    11       A Again, I wasn't part of it, but I do not           11   the county prosecutor's office was $5 million.
    12   believe that that would be exclusive to criminals or     12       Q Okay. But, ma'am, you keep switching back
    13   prosecutors who prosecute criminal defendants.           13   and forth between the chart. When I ask you a
    14       Q You said there are prosecutors who                 14   question about the chart, you say I wasn't involved
    15   prosecute criminal cases and prosecutors who are         15   in the chart, I don't know how the numbers are
    16   involved in trying to remove children from their         16   prepared.
    17   homes?                                                   17             So I'm not asking you to look at the
    18       A That's correct. And we have prosecutors            18   chart. I'm saying as the corporate representative
    19   who are involved in tax foreclosures.                    19   on the damages topic, where I ask you to tell me
    20       Q Is the time spent by prosecutors on                20   what the damages are. You went through a list and
    21   prosecuting tax foreclosures included in that line       21   one of the items on your list was prosecutors. So
    22   item?                                                    22   I'm asking you with respect to prosecutors, what are
    23       A That I can't answer.                               23   the harms incurred by Cuyahoga County relating to
    24       Q Is the time a prosecutor spent prosecuting         24   the opioid epidemic, tell me what they are?
    25   criminal case included in this line?                     25          MR. BADALA: Objection, asked and answered
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     1          MR. BADALA: Are you done with that                 1   just for the record, she was going through the chart
     2   answer?                                                   2   and saying she made a list.
     3       A No. I can't answer that. I was not part             3       A This exhibit identifies the county damages
     4   of this calculation, this was done by the experts.        4   for the prosecutor's office, for the period 2006
     5       Q (Mr. Keyes) Okay. The prosecutors you               5   through 2017. We have identified $50 million that
     6   said though line item includes the personnel cost of      6   is the harm that has been caused to the prosecutor's
     7   prosecutors, correct?                                     7   office.
     8       A I can definitively would say this include           8       Q (Mr. Keyes) What does that $50 million
     9   some personnel cost, yes.                                 9   measure, what is it?
    10       Q The prosecutors you described three                10           MR. BADALA: Objection to form.
    11   things, they prosecute criminal cases, correct?          11       Q (Mr. Keyes) What are the components of
    12       A That's correct.                                    12   the costs that are included in that $50 million?
    13       Q Where the defendants have been accused of          13           MR. BADALA: Objection to form, asked and
    14   a crime?                                                 14   answered.
    15       A That is correct.                                   15       A I have answered that. This table was
    16       Q They prosecute tax foreclosure cases,              16   created by experts. This is not in the county's,
    17   correct?                                                 17   this is outside the scope of what my role is as a
    18       A That is correct.                                   18   budget director, I'm sorry to cover that, and what
    19       Q Do the tax foreclosure cases have anything         19   the county does. We rely on experts.
    20   to do with prescription opioids?                         20       Q (Mr. Keyes) Okay. Put the chart to the
    21       A They might.                                        21   side. We don't need to look at the chart since you
    22       Q Do you know?                                       22   know nothing about the chart. So you can put the
    23       A I do not know for sure, no.                        23   chart to the side.
    24       Q And you said the prosecutors are involved          24       A But my topic is damages. If we are still
    25   in cases to remove children from their homes?            25   talking about damages, I'm going to refer to this

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     1   chart.                                                  1   yes, these costs are personnel costs that relate
     2       Q I can read the chart, ma'am, I can read           2   specifically to the opioid epidemic.
     3   the chart. I know what the chart says. And you          3      Q And what are those personnel costs that
     4   have told me multiple times you can't provide any       4   relate to the opioid epidemic?
     5   more detail about any of the dollar figures in this     5          MR. BADALA: Objection to form, asked and
     6   chart, correct?                                         6   answered.
     7           MR. BADALA: Objection, for the record she       7      A Personnel costs include salaries, include
     8   has provided detail. She has referenced a chart.        8   benefits, taxes paid by the employer on behalf of
     9   You can reference whatever you like. You don't have     9   the employee, health care costs, that's all
    10   to listen to his instruction.                          10   encompassed in personnel costs.
    11       Q (Mr. Keyes) I don't want you to keep             11      Q (Mr. Keyes) Are their nonpersonnel costs
    12   coming back to a chart and rely on a chart when        12   included in the prosecutor line item relating to the
    13   you've already told me you weren't involved in the     13   opioid epidemic?
    14   preparation of the chart and you don't know what the   14          MR. BADALA: I'm just unclear, you
    15   dollars include. So I don't want you to read me the    15   referring back to the chart that you told her not to
    16   chart. I am here to take your testimony as the         16   look at? You said line item.
    17   corporate representative. So I want to know what       17      Q (Mr. Keyes) You said there's a category.
    18   you, Cuyahoga County, can tell me are the categories   18   There's a line item here that you keep referring to.
    19   of harm that were suffered by Cuyahoga County with     19   And as many times and I have tried, you told me you
    20   respect to prosecutors because of the opioid           20   don't know anything about the dollar figures. I'm
    21   problem?                                               21   not asking about the dollar figure. I'm trying to
    22           MR. BADALA: Again, for the record, the         22   understand, since we have been asking for months and
    23   chart was on behalf of Cuyahoga County, which is       23   months and months for Cuyahoga County to tell us,
    24   mentioned by counsel earlier in this deposition.       24   what are the damages you are seeking. And there's a
    25           MR. KEYES: The chart has a figure and she      25   line here that says prosecutor with a bunch of
                                                     Page 135                                                        Page 137
     1   doesn't know anything about the figure. I'm asking      1   dollar figures associated with years. So I want to
     2   about the categories of harm within the prosecutor      2   know since you are Cuyahoga County here, what is
     3   line.                                                   3   included in that category?
     4          MR. BADALA: That completely misstates her        4          MR. BADALA: And just for the record, and
     5   testimony. All the testimony we have gone through       5   Mr. Keyes said months and months, but the court has
     6   already.                                                6   approved this response. You have objected, the
     7      Q (Mr. Keyes) You can answer my question.            7   court has actually approved this response.
     8       A The damages are identified in Exhibit 2.          8       A This is the county's response as to what
     9      Q What are the categories of harm? What are          9   the damages are. The county has relied on its
    10   the types of expenses that Cuyahoga County has         10   attorneys and experts. This is outside the scope of
    11   incurred because of the opioid problem relating to     11   what the county does.
    12   prosecutors. I'm not asking about dollars, I'm         12       Q (Mr. Keyes) Okay. Same answer for public
    13   asking about the kind of expenses that is incurred.    13   defender?
    14   Do you know or not?                                    14       A That's the same answer for every line in
    15      A I believe I have answered that.                   15   this. This opiate epidemic is an extraordinary
    16      Q Okay.                                             16   circumstance for Cuyahoga County. This is beyond
    17      A This does include personnel costs.                17   anything we have ever experienced before. It has
    18      Q Okay.                                             18   been more harmful, it has been more damaging, it has
    19      A That is a category of an expense.                 19   been more expensive. We do not have the expertise
    20      Q Okay. And the personnel expenses, is it           20   to do the sort of analytics that are required to
    21   for everything that the prosecutors do or is it        21   come up with the damages and the harm that has been
    22   limited to something that the prosecutors do           22   occurred by Cuyahoga County.
    23   relating to the opioid problem?                        23       Q You have been experiencing these harms
    24      A These costs have been identified as               24   since 2006, correct?
    25   relating specifically to the opioid epidemic. So,      25          MR. BADALA: Objection to form.

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     1       A As I mentioned before, the county did                1   opioid epidemic?
     2   identify and became aware of the fact that there is,       2      A That's correct.
     3   in fact, an opiate epidemic in 2016 and then working       3      Q Another $41 million in 2010 because of the
     4   with the experts. We have now been able to trace           4   opioid epidemic?
     5   the impact on its systems and budget going back at         5      A That's correct.
     6   least as far as 2006.                                      6      Q $42 million in 2011 because of the opioid
     7       Q (Mr. Keyes) You said earlier that the                7   epidemic?
     8   opioid epidemic began in 2006?                             8      A That's correct.
     9          MR. BADALA: Object to form, misstates her           9      Q $47 million in 2012 boss of the opioid
    10   testimony.                                                10   epidemic?
    11       A I do not believe that is what I said.               11      A That's correct.
    12       Q (Mr. Keyes) You said that the opioid                12      Q $53 million in 2013 because of the opioid
    13   epidemic began as early as 2006 and perhaps earlier?      13   epidemic?
    14          MR. BADALA: Objection to form, misstates           14      A That's correct.
    15   her testimony.                                            15      Q $56 million in 2014 because of the opioid
    16       Q (Mr. Keyes) Are you taking a different              16   epidemic?
    17   position now?                                             17      A Yes, that's correct.
    18          MR. BADALA: Objection to form, misstates           18      Q Another $56 million in 2015 because of the
    19   her testimony.                                            19   opioid epidemic?
    20       A I believe what I said earlier is                    20      A Yes, it has been a substantial impact.
    21   consistent with what I'm saying now. That the             21      Q All unbeknownst to Cuyahoga County until
    22   county became aware that we have an opiate epidemic       22   2016 that none of those figures did it know it was
    23   in 2016. And at that time is when we connected all        23   spending money because of the opioid epidemic. This
    24   the dots, which I think is literally what I said          24   was all a surprise and a revelation to Cuyahoga
    25   before. And now knowing what we know, we can trace        25   County in 2016, is that the county's position?
                                                        Page 139                                                        Page 141
     1   back the impact on our systems and budget at least         1       A The county's position is that, yes, it
     2   to 2006, perhaps earlier.                                  2   became aware that this was an opiate epidemic in
     3       Q (Mr. Keyes) I asked you before when the              3   2016. And then with the data that we now had
     4   opioid epidemic started, and you said 2006, perhaps        4   available to us and we started connecting all of the
     5   earlier. I asked you that several times and you            5   dots, we can go back and say retrospectively, yes,
     6   said that earlier, correct?                                6   those expenses were, in fact, attributed to this.
     7          MR. BADALA: Objection to form, misstates            7              You can't realize you have an
     8   her testimony.                                             8   epidemic all at once. You need data, you need
     9       A I cannot say, I do not remember what I               9   experience, you need time.
    10   said. I do not believe I said it started in 2006.         10       Q And so it is Cuyahoga County's position
    11   I said we have traced now the impact, I know I said       11   that it didn't know there was a opioid epidemic
    12   repeatedly impact on systems and budget going back        12   until 2016.
    13   to 2006.                                                  13           MR. BADALA: Objection to form, asked and
    14       Q (Mr. Keyes) And Cuyahoga County's                   14   answered?
    15   position today is that it spent $33 million in 2006       15       A That's correct.
    16   because of the opioid epidemic, correct?                  16       Q (Mr. Keyes) It wasn't until 2016 that
    17       A This an estimate, but yes, the estimate of          17   Cuyahoga County discovered that from 2006, to 2015,
    18   what the damages incurred are. $33 million in 2006.       18   it had spent incompetences of $450 million because
    19       Q And it spent another $36 million in 2007            19   of an opioid epidemic it didn't know anything about,
    20   because of the opioid epidemic?                           20   that's the position of the county?
    21       A That is correct.                                    21       A Yes. You might want to put this in
    22       Q And another $38 million in 2008 because of          22   perspective. This county spends $2 billion a year.
    23   the opioid epidemic?                                      23   So to spend 20 million, there's always something
    24       A That is correct.                                    24   going on. And so it is not, 56 million, you know,
    25       Q Another $39 million in 2009 because of the          25   you said it with a lot of strenuousness in your

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     1   voice, but we spend $2 billion. It is not uncommon        1          MR. BADALA: Objection to form, asked and
     2   to say the costs went up 10 million. I will               2   answered.
     3   research everything, but 10 million is a blip when        3      A Yes, and I do want to be clear, that prior
     4   we spend over 2 billion.                                  4   to 2011, the county did not have a council or an
     5       Q So as the director of the Office of Budget          5   executive. We were working under a different system
     6   and Management, during this time frame, you did not       6   of government. So I certainly can't speak for
     7   know between 2006 and 2015 that Cuyahoga County had       7   elected officials who didn't exist. But that is
     8   spent in excess of $450 million because of an opioid      8   correct, the Office of Budget Management lacks the
     9   epidemic and furthermore, Cuyahoga County didn't          9   requisite expertise and has no access to the data to
    10   even know there was an opioid epidemic during that       10   say that we had an opiate epidemic. The county did
    11   time frame. Is that the county's testimony?              11   not know that there was an opiate epidemic prior to
    12          MR. BADALA: Objection to form.                    12   2016.
    13       A That's absolutely the testimony. Now to            13      Q (Mr. Keyes) Tell me what happened in 2016
    14   be clear, I was not the director from 2006 to 2015.      14   where Cuyahoga County had an epiphany and realized
    15   I became the director in October of 2015 of the          15   that unbeknownst to it, there had been an opioid
    16   Office and Budget Management. I did work in the          16   epidemic since 2006, as to which the county had
    17   Office of Budget Management previous to that.            17   spent in excess of $450 million?
    18             What I know as the director is that            18          MR. BADALA: Objection to form.
    19   we are spending money to autopsy bodies of people        19      Q (Mr. Keyes) What happened in 2016 that
    20   who have overdosed. What I know is that we are           20   Cuyahoga County suddenly realized, oh, we are now in
    21   spending money to take care of children whose            21   year ten of an opioid epidemic, what happened?
    22   parents cannot take care of them or have failed them     22          MR. BADALA: Which question are you
    23   in the most egregious ways. I don't get the data,        23   asking? You asked a question and another question,
    24   as I previously said, why specifically this child        24   which questions are you asking?
    25   has been taken from their home.                          25      Q (Mr. Keyes) It is all one question.
                                                       Page 143                                                       Page 145
     1             I just get the bill that says this          1              MR. BADALA: No, it is not, it's two
     2   child is costing us $225 a day. I don't get the       2       question.
     3   data that would have allowed me as the director of    3          Q (Mr. Keyes) Tell me what happened in 2016
     4   the Office of Budget Management to connect and say, 4         where Cuyahoga County realized, unbeknownst to it
     5   hey, I bet all of these things in these desperate     5       for the past nine years, that it was in year ten of
     6   systems is connected to this one thing. The county    6       an opioid epidemic and that unbeknownst to the
     7   got that data, had that realization and connected     7       county it had spent in excess of $450 million on
     8   all of those dots in 2016.                            8       that opioid epidemic?
     9       Q (Mr. Keyes) So it is the county's               9              MR. BADALA: Objection to form.
    10   testimony today that not only you didn't know, but   10          A Um, it has to just be that the county had
    11   no one in the Office of Budget Management knew, no 11         access to its data and was analyzing its data. I
    12   one in the mayor's office knew and no one on the     12       can't tell you one specific thing. I think it is
    13   county council knew that there was an opioid         13       misrepresenting to say that the county had an
    14   epidemic for the prior nine years, correct?          14       epiphany. As if we have been negligent in seeing
    15       A I can't speak for the mayor because we         15       what's been happening in our community for the last
    16   don't have a mayor, but nobody in the county knew 16          ten years. Nobody woke up and said, oh, this is
    17   prior to 2016 that we were, in fact, dealing with an 17       what it is, but it is analyzing all the data
    18   opioid epidemic.                                     18       available to us.
    19       Q No one in Cuyahoga County government,          19                  We have 7,000 employees, we have over
    20   including anyone in the Office of Budget and         20       50 agencies. That's a lot of data to pull together
    21   Management, anyone in the county executive's office 21        and realize that oh, what's happening over here is
    22   and anyone on the county council knew before 2016 22          directly attributed to what's happening over there,
    23   that there was an opioid epidemic and that it had    23       and there and there. That's a lot of agencies,
    24   started as early as 2006, is that the county's       24       that's a lot of data that you have to analyze.
    25   testimony today?                                     25          Q (Mr. Keyes) But in 2016 the county looked

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                                                      Page 146                                                        Page 148
     1   at its data and determined that it spent hundreds of     1       A I cannot, first of all, I cannot say that
     2   millions of dollars on opioid epidemic that reached      2   the county new these specific dollar amounts in
     3   back to 2006, correct?                                   3   2016. I did not see this table in 2016. So I don't
     4           MR. BADALA: Object to form, asked and            4   know when the county knew that it had spent, as you
     5   answered.                                                5   say, hundreds of millions of dollars and wasn't
     6       A That's correct.                                    6   aware of it.
     7       Q (Mr. Keyes) And that's data that the               7               I know that we realized we had the
     8   county had, correct?                                     8   opiate epidemic in '16 and then I first saw this
     9       A I can't say that that was data that the            9   table in 2018. So that's when I became aware that
    10   county had available to it the whole time.              10   this was, in fact, our damage.
    11       Q I didn't say that. You said that they             11       Q Prior to 2016, did Cuyahoga County know
    12   looked a data in 2016?                                  12   that it was spending money because of an opioid
    13           MR. BADALA: Are you done with your              13   epidemic?
    14   answer?                                                 14       A No. Prior to that, the county knew it was
    15       A I'm not done with my answer. You asked me         15   spending money because people weren't taking care of
    16   if that was data that the county had. And I can't       16   their children, people were dying, people were
    17   say that that's data that the county had. The           17   coming into the jail and we have to cart them off to
    18   county may have had access to data in 2016 that it      18   hospitals every other day. We have rising
    19   didn't have in 2015, I don't know.                      19   caseloads, but we don't know.
    20       Q (Mr. Keyes) What data did the county look         20               You don't know without analyzing all
    21   at in 2016 that brought to its attention this ten       21   the data A, what is, what's driving that increase
    22   year old opioid epidemic that it didn't know about      22   and then B, whether it is, in fact, an epidemic or
    23   for the prior ten years?                                23   it is a blip or it is this. I mean, you were asking
    24           MR. BADALA: Objection to form, outside          24   me previously did the numbers of deaths increase
    25   the scope.                                              25   this year over this year. We did go down in 2018,
                                                      Page 147                                                        Page 149
     1      A    I'm going to answer that in two parts.           1   but we have gone down before and then we dip back
     2             One, I don't know what specific data           2   up. It would be premature for the county to say in
     3   sources the county got in 2016 that led to the           3   2018 we are healed because that number has gone back
     4   realization that we are in the midst of an opioid        4   up before.
     5   epidemic, but I want to point out that in 2007, just     5             You can't take one piece of data
     6   as an example, this $36 million, it wasn't               6   point in time and make determinations.
     7   necessarily $36 million more than the previous year.     7      Q Prior to 2016, did Cuyahoga County know
     8   But this is 36 million that was attributed to now we     8   that it was spending money because of opioid use,
     9   know the opiate epidemic. It is not as if the            9   misuse, abuse or addiction?
    10   county woke up one day and found that it spent          10           MR. BADALA: Objection to form, asked and
    11   $500 million more than it ever had before, but now      11   answered.
    12   we know the cause.                                      12      A I don't, I can't say, I don't know the
    13             Previous to that, we had had no one           13   answer to that. I know that the county knows it was
    14   singular cause why we are taking children into          14   spending money on its mandated services to do this.
    15   custody. Now we are able to trace back and say,         15   Whether, I do not believe the county knew exactly
    16   yes, in fact, over the last several years, we have      16   why, what was the cause. We did not know that,
    17   spent between 11 and $23 million taking children as     17   certainly we didn't know there was an epidemic until
    18   a result of this one singular cause.                    18   2016.
    19       Q (Mr. Keyes) So in 2016, Cuyahoga County           19             Did the county know in 2008 that
    20   realized that since 2006, it had spent in excess of     20   maybe one parent was addicted to something that was
    21   $450 million because of an opioid epidemic and          21   an opiate? Probably. I'm sure that in 2008 we took
    22   didn't know it before then?                             22   a child from their home because their parent was an
    23          MR. BADALA: Objection to form, asked and         23   addict. But to say this was, in fact, an epidemic
    24   answered.                                               24   did not occur until 2016.
    25       Q (Mr. Keyes) Correct?                              25      Q (Mr. Keyes) My question didn't say

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                                                     Page 150                                                    Page 152
     1   anything about an epidemic. My question said, prior     1      A Yes, carefully.
     2   to 2016, did Cuyahoga County know that it was           2      Q (Mr. Keyes) On a department by department
     3   spending money because of opioid use, misuse, abuse     3   and agency by agency basis?
     4   or addiction?                                           4          MR. BADALA: Objection to form.
     5         MR. BADALA: Objection to form, asked and          5      A On a division by division basis. In my
     6   answered.                                               6   office very rarely misses the actuals by any more
     7      A On individual clients, yes.                        7   than 3 percent.
     8      Q (Mr. Keyes) Prior to 2016, did Cuyahoga            8      Q (Mr. Keyes) So you and in your office
     9   County know that it was spending significant money      9   since 2006 have been on top of what the county is
    10   because of opioid use, misuse, abuse or addiction      10   spending on the division by division, department by
    11   within the county?                                     11   department, agency by agency basis, correct?
    12         MR. BADALA: Objection to form, asked and         12      A That is correct.
    13   answered.                                              13      Q And that has been without fail since 2006?
    14      A I would need a definition of significant.         14      A Monitoring expenditures, yes.
    15      Q (Mr. Keyes) Millions of dollars?                  15      Q So there aren't expenditures that are a
    16         MR. BADALA: Objection to form.                   16   surprise to your office currently, correct?
    17      A We define significant as $5 million,              17          MR. BADALA: Objection to form.
    18   $50 million? I don't know what significant means.      18      A There can be expenditures that's a
    19   5 million is not significant to me.                    19   surprise if it posts. I don't know that an
    20      Q (Mr. Keyes) Is $5 million significant to          20   expenditure necessarily has existed until it
    21   Cuyahoga County?                                       21   happens.
    22      A $5 million, depending on what we are              22      Q (Mr. Keyes) And are the expenditures that
    23   looking at, might not be enough to raise eyebrows.     23   are listed in this chart from 2006 to 2017,
    24   We spend 2 billion.                                    24   authorized or unauthorized expenses?
    25      Q So at what point are the numbers                  25          MR. BADALA: Objection to form.
                                                     Page 151                                                    Page 153
     1   significant enough for Cuyahoga County to pay           1       A County doesn't spend money without
     2   attention to what it is spending and why, and           2   authorization. They are authorized.
     3   whether there is spending attributable to a problem     3       Q (Mr. Keyes) Are the expenditures that
     4   of opiates in the community?                            4   listed here from 2006 to 2017 budgeted or non
     5          MR. BADALA: Objection to form.                   5   budgeted expenditures?
     6       A To be clear, even if the numbers don't            6          MR. BADALA: Objection to form.
     7   change, the county is monitoring what it is spending    7       A The county has no legal authority to spend
     8   money on. My office does that as a matter of            8   unless the dollars are appropriated, which is
     9   routine and I report on it as a matter of routine       9   probably what you mean by budgeted. So everything
    10   even if the numbers don't change. That in itself       10   is appropriated.
    11   could be significant depending on your definition of   11       Q (Mr. Keyes) So every expenditure that is
    12   significant.                                           12   listed on this chart from 2006 to 2017 was a
    13             County is always monitoring its              13   budgeted expense?
    14   expenses. The county discovered, if I may, that        14          MR. BADALA: Objection to form.
    15   there was an opiate epidemic that we were spending     15       A The only exception would be if we have
    16   money in 2016. Substantial money as a result of one    16   what's called trust and agency accounts. The
    17   cause in 2016.                                         17   prosecutor has some, which would be like forfeiture
    18       Q (Mr. Keyes) You say the county is                18   money, seizures, but that would be -- I don't know
    19   monitoring what it is spending money on. You are       19   what's included in here, but for the most part, yes,
    20   talking about currently?                               20   it would all be budget.
    21       A The county, at least going back to 2006,         21       Q (Mr. Keyes) So you identified a possible
    22   has always monitored its spending.                     22   exception, it is just a possible exception?
    23       Q Carefully?                                       23       A That's correct.
    24       A Yes.                                             24       Q Putting that possible exception to the
    25          MR. BADALA: Objection to form.                  25   side, is it the county's testimony that every

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                                                     Page 154                                                       Page 156
     1   expenditures that's listed in this chart from 2006      1   beyond the budget?
     2   to 2017 relating to the opioid problem was a            2      A Absolutely.
     3   budgeted expense?                                       3      Q Okay. Which ones?
     4          MR. BADALA: Objection to form.                   4      A I can't definitively say which ones, but I
     5      A What I'm saying is that they are                   5   can tell knowing these individual agencies and the
     6   appropriated.                                           6   years we are talking about, they exceeded their
     7      Q (Mr. Keyes) Meaning they were                      7   budget.
     8   appropriated by county council, correct, or its         8      Q Okay. You can't tell me which
     9   predecessor?                                            9   expenditures?
    10      A That's correct.                                   10      A No, of course not.
    11      Q And therefore were authorized expenditures        11      Q You can't tell me which line items?
    12   in advance of being made?                              12      A Line item, do you mean agency?
    13          MR. BADALA: Objection to form.                  13      Q Agency or division?
    14      A Yes. The authorization could have come a          14      A Children and Family Services exceeded its
    15   week in advance, but yes.                              15   budget within this period of time, the public
    16      Q (Mr. Keyes) Okay.                                 16   defender exceeded its budget probably every year
    17      A These are not always, sorry, but, it is           17   during this time, juvenile court exceeded its budget
    18   not as if, we amend budgets every four weeks. The      18   during this time period, the sheriff's office
    19   budget is constantly amended. Every expenditure in     19   exceeded their budget during time period, the
    20   2006 was not known or even anticipated for that        20   medical examiner exceeded its budget during the time
    21   matter in the 2006 budget, original budget if that     21   period.
    22   makes sense.                                           22             The ADAMHS Board never did, though as
    23      Q Okay. But I'm trying to understand. Were          23   I mentioned, we only give them a subsidy and I'm not
    24   the expenses listed in this chart from 2006 to 2017    24   mentioning the prosecutor and Court of Common Pleas
    25   unauthorized or were they appropriated?                25   only because I can't remember.
                                                     Page 155                                                       Page 157
     1          MR. BADALA: Objection to form.                   1      Q In which years and by how much?
     2       A Expenditures are appropriated.                    2      A I can't tell you that off the top of my
     3       Q (Mr. Keyes) And so all of the                     3   head.
     4   expenditures on this chart from 2006 to 2017 were       4      Q Okay. Does the county use FAMIS to track
     5   appropriated, correct?                                  5   expenditures?
     6       A That's correct.                                   6      A Yes, it did.
     7       Q And they were appropriated in advance of          7      Q And can you run a query against FAMIS to
     8   the expenditures being made?                            8   identify all expenditures by a particular account?
     9       A That's correct. There are some                    9      A What do you mean by account.
    10   expenditures in the county budget, there are some      10      Q I mean, a particular account number?
    11   legal exceptions where you can get approval after      11          MR. BADALA: Objection, outside the scope.
    12   the fact.                                              12      A So we refer to account number like 50
    13             So not for the appropriation, you            13   different things. Do you mean an agency, is that
    14   have to have appropriation, but just as an example,    14   what you mean by account?
    15   we do have the ability for foster care and adoption    15      Q (Mr. Keyes) No, I mean like supplies or
    16   as an example. The foster, if you are a foster         16   postage stamps. What would you call that?
    17   parent or adoptive parent. You can choose the          17      A We call that a subobject. But, yes, we
    18   agency you want to work with. So if you take a         18   can run -- FAMIS doesn't run queries the way you
    19   child today, and we didn't even know who you were      19   think, it is a very old system. We are in the
    20   yesterday, and you say I am already working with       20   process of upgrading it.
    21   agency X. We can authorize retroactively an expense    21              So I can't say run, you know, run me
    22   to agency X, but the expense itself would have been    22   every supply for in every year. I can do that in
    23   appropriated.                                          23   BRASS, which is my budget and reporting system.
    24       Q So were any of the expenses listed on this       24      Q Okay. But if I wanted to identify every
    25   chart from 2006 to 2017 expenses that were incurred    25   expenditures by subobject for every cost center for

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     1   a particular period of time, that can be done              1   expenditure.
     2   against FAMIS, correct?                                    2      A Uh-huh.
     3           MR. BADALA: Objection to form, outside             3      Q How do I match that up, either using BRASS
     4   the scope.                                                 4   or FAMIS data with the source of the funds that
     5       A That can be done depending on the year in            5   covered that expenditure?
     6   BRASS, which uses FAMIS data. You can't run that           6      A On a specific expenditure you don't use
     7   query in FAMIS.                                            7   BRASS or FAMIS. For that you would have to either
     8       Q (Mr. Keyes) And when you get that export             8   go to the agency itself, if it's relevant. So, for
     9   of the data listing all of the expenditures, can you       9   example, I will use Children and Family Services, so
    10   tell from the system what the revenue source was for      10   they have, you know, people, boarding care expenses
    11   each expense?                                             11   and facilities, right. And on the revenue side they
    12           MR. BADALA: Objection, outside the scope.         12   have Health and Human Service levies, a Title 4E,
    13       A Not for each expense, no.                           13   the state child adoption allocation.
    14       Q (Mr. Keyes) So if you look at a                     14             The agency can tell you by
    15   particular expense, either in FAMIS or BRASS, and         15   expenditure what revenue source they're hitting. I
    16   you want to know what dollars were used to cover          16   don't have that level of detail.
    17   that expense, how do you determine that?                  17      Q But the agency can do that?
    18           MR. BADALA: Objection, outside the scope.         18          MR. BADALA: Objection to form.
    19       A So the revenue is tracked by what you are           19      A For a lot of their expenses, yes.
    20   calling a cost center, but any particular, so for         20      Q (Mr. Keyes) And how can each agency tell
    21   example, I will just use the prosecutor's office.         21   what the revenue source is for a particular
    22   The prosecutor's office is largely general fund.          22   expenditure, looking at what record or records?
    23   They do get some other revenue, but just for the          23      A I don't know what their records are
    24   sake of this, I will say they are general fund.           24   called, but I know they have it because we report
    25             If you look at the prosecutor's                 25   that to some of the agencies where we receive
                                                        Page 159                                                   Page 161
     1   expenses, the revenue will just say general fund.          1   revenue. So we get revenue from the State of Ohio
     2   General fund is comprised of, you know, dozens of          2   and in order to draw down that revenue, they have to
     3   revenue sources and including, just as an example,         3   report what their expenses are.
     4   sales tax and property tax.                                4       Q Okay. So I want to be very clear. If
     5             I cannot tell you that, you know,                5   Cuyahoga County points down the road in more detail
     6   this prosecutor is paid by sales tax and this              6   to specific expenses it incurred.
     7   prosecutor is paid by property tax. They are paid          7       A Uh-huh.
     8   by the general fund.                                       8       Q Purportedly because of the opioid problem?
     9      Q (Mr. Keyes) Okay.                                     9       A Uh-huh.
    10      A Does that answer your question?                      10       Q For each of those expenses, I want to be
    11      Q Not entirely.                                        11   able to look at what the source of revenue was for
    12      A I don't understand it then.                          12   that expenditure. How do I do that?
    13      Q If for any particular expenditure incurred           13       A So, again, I can tell you the funding
    14   by Cuyahoga County, I want to know where the dollars      14   source that goes into the fund and then I can tell
    15   came from?                                                15   you each individual revenue source.
    16      A Uh-huh.                                              16             If you want to know what funding
    17      Q Whether they came from the federal                   17   source paid for this paperclip, you can try the
    18   government, from the state government, from a third       18   agency if they report at that level of detail. Not
    19   party, from a special fund or a general fund, how do      19   all of them do because a lot of them we're not
    20   I do that?                                                20   required to do that.
    21          MR. BADALA: Objection, outside the scope.          21       Q Well, can you at least tell whether that
    22      A So we have reports that can show you by              22   paperclip was paid for by federal money, state
    23   fund and each fund will identified the sources of         23   money, grant money, general fund or special fund?
    24   revenue that are included in that fund.                   24           MR. BADALA: Objection to form.
    25      Q (Mr. Keyes) Okay. But on a particular                25       A Well, all of that is county money, which

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     1   comes into the county budget as either general fund        1       Q When was the additional pathologist hired?
     2   or special fund. So that's the only two options for        2       A I cannot tell you that.
     3   us, general fund or special revenue fund. Federal          3       Q And how much was spent on this new or
     4   money, state money, grant money can flow into one of       4   additional pathologist?
     5   those two.                                                 5       A Well, the pathologists are about 150 to
     6      Q (Mr. Keyes) Into general fund or special              6   200,000 a year. The last one we hired, I don't know
     7   fund?                                                      7   their individual rates of pay, but they are up
     8      A That's correct.                                       8   there.
     9      Q But then how do you account for the                   9       Q So how many pathologists does the medical
    10   dollars that come in from the state or federal            10   examiner's office currently have?
    11   government into a general fund or a special fund?         11       A Oh, goodness. I can't say without looking
    12      A We capture our revenue by line item. I               12   at an OARRS chart for them.
    13   mean, very specifically. So I have one particular,        13       Q How many did it have in 2018?
    14   again, we use subobject on revenue and I have one         14          MR. BADALA: Objection, outside the scope.
    15   subtitle for a Title 4E maintenance, I have one           15       A I'm sorry, I can't say.
    16   subobject for the local government fund, one for          16       Q (Mr. Keyes) How about 2017?
    17   property taxes, one for delinquent property taxes.        17       A I can't say.
    18             We get very detailed.                           18       Q How about in any prior year before 2017?
    19      Q (Mr. Keyes) Okay.                                    19       A I know they got an additional one in 2017.
    20          MR. KEYES: Let's a five minute break.              20   But I don't know the base number and then what that
    21          THE VIDEOGRAPHER: It is 12:49. Going off           21   one increased it to.
    22   the record.                                               22       Q You testified before about hiring an
    23               (Off the record.)                             23   additional pathologist that occurred in 2017?
    24          THE VIDEOGRAPHER: It is 1:03, we are back          24       A That's correct.
    25   on the record.                                            25       Q Okay. Other than the medical examiner's
                                                        Page 163                                                    Page 165
     1       Q (Mr. Keyes) What categories of                       1   office hiring an additional pathologist in 2017, can
     2   expenditures did the medical examiner's office incur       2   you tell me anything about the categories or types
     3   because of the opioid problem?                             3   of expenditures that the medical examiner's office
     4       A I can only tell you the total dollar                 4   incurred because of the opioid problem in the area
     5   amount that has been identified in the medical             5   of personnel costs?
     6   examiner's budget. I cannot tell you categories of         6          MR. BADALA: Objection to form.
     7   expenditures.                                              7       A Well, I don't mean to give the impression
     8       Q Can you identify any types of expenditures           8   that the additional pathologist is the only
     9   that the medical examiner's office incurred because        9   personnel expense. So the number of our
    10   of the opioid problem?                                    10   pathologists has been increasing over time, and we
    11       A Personnel costs and nonpersonnel costs.             11   have other personnel besides pathologists. That's
    12       Q What are the personnel costs that were              12   just one example that I can tell you was definitely
    13   incurred by the medical examiner's office because of      13   attributed because the medical examiner had to come
    14   the opioid problem?                                       14   in and ask for additional funding mid year.
    15       A I know that specifically they had to hire           15       Q (Mr. Keyes) So I asked you what are the
    16   an additional pathologist. I do not know what other       16   expenses incurred by the medical examiner's office
    17   staff have been included in the cost.                     17   because of the opioid problem. You said personnel
    18       Q What pathologist was hired?                         18   costs and nonpersonnel costs. With respect to
    19       A Do you need a name?                                 19   personnel costs I said, what are the expenditures or
    20          MR. BADALA: Objection to form.                     20   types of expenditures? You said they had to hire an
    21       Q (Mr. Keyes) What was the formal position?           21   additional pathologist.
    22       A Pathologist.                                        22             What, if any, are the other personnel
    23       Q And who was hired for that slot?                    23   costs incurred by the medical examiner's office
    24       A Well, we have several. I don't know. I              24   because of the opioid problem?
    25   don't know any of their names except for Dr. Gilson.      25       A It would be their entire staffing. I

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                                                      Page 166                                                     Page 168
     1   don't have all of their job classifications. They        1       A Um, well, they have supply costs related
     2   have scientists, and data analysts, and                  2   to toxicology testing, there's equipment in the
     3   pathologists, and clerks, but um, a portion of the       3   medical examiner's lab that is used for conducting
     4   medical examiner's workload is attributed to the         4   autopsies and other services. Again, I can't tell
     5   opioid epidemic. So necessarily a portion of their       5   you a dollar amount because the experts calculated
     6   personnel cost, in addition to just the                  6   these figures that are referenced here. So I only
     7   pathologists, would be.                                  7   see the total, but those are the nonpersonnel costs
     8       Q What portion of the personnel costs is             8   that are in the medical examiner's office.
     9   attributable to the opioid problem?                      9       Q What equipment, if any, do the medical
    10          MR. BADALA: Objection to form.                   10   examiner's office buy because of the opioid problem
    11       A I can't answer that question. I was not           11   that it otherwise didn't need?
    12   involved in the calculation of impact to the county     12       A I would have to defer to Dr. Gilson to
    13   budget of the opiate epidemic and I know the figures    13   answer that question. I don't, I'm not familiar
    14   identified in the Exhibit 2 are totals, but I do not    14   with all of their equipment to be honest. I can
    15   have the breakout of whether that's personnel,          15   only pronounce a little bit of it. So I don't know.
    16   nonpersonnel, or for that matter, what kind of          16       Q What supplies, if any, did the medical
    17   personnel costs, whether it is salaries, benefits.      17   examiner's office buy because of the opioid problem
    18       Q (Mr. Keyes) What percentage of the                18   that it otherwise didn't need?
    19   autopsies performed by the medical examiner's office    19       A Again, I would defer to Dr. Gilson. I
    20   involved the decedents use of prescription opiates?     20   know that they, meaning the medical examiner has
    21       A Dr. Gilson could best answer that                 21   reported that their supply costs have increased as a
    22   question, I don't have that data.                       22   result of the number of opiate cases that are coming
    23       Q What percentage of the toxicology testing         23   through, but he's best to talk about the supplies
    24   performed by the medical examiner's office involves     24   and equipment that are utilized in that office.
    25   decedents who use prescription opiates?                 25       Q Can you connect any of expenditures that
                                                      Page 167                                                     Page 169
     1      A Again, I would have to defer to                     1   the county says were incurred because of the opioid
     2   Dr. Gilson, the medical examiner. I know they do         2   problem to the conduct of any particular defendant?
     3   track that data because I have seen, they have           3       A Um, I don't -- I don't, I cannot. Whether
     4   provided that to me at least a couple times, but I       4   the county's experts are working on that. I don't
     5   don't. I don't have it off the top of my head.           5   know. I have not seen any report that connects
     6      Q You have seen data from the medical                 6   anything to any of have the defendants.
     7   examiner's office that shows the percentage of           7       Q Sitting here today as the corporate
     8   toxicology tests that show the use of prescription       8   representative for Cuyahoga County, can you connect
     9   opioids by the decedent?                                 9   any of the expenditures that the county says were
    10      A Yes, the use of, well, yes. They have              10   incurred because of the opioid to the conduct of any
    11   that data.                                              11   particular defendant?
    12      Q Prescription opioids?                              12          MR. BADALA: Objection to the form.
    13      A Yes.                                               13       A The county can connect its expenses to the
    14      Q How often do you get that kind of data             14   conduct of the defendants. At this point I cannot
    15   from the medical examiner's office?                     15   say which defendant for any level of damages, but
    16      A It is not routine. So I ask for it every           16   again, I would defer to the county's attorney and
    17   once in a while if I see something changing with the    17   its experts on that. That is certainly beyond the
    18   projections of the office up or down. They haven't      18   scope of what the county does.
    19   really been going down. Then I might ask because I      19       Q (Mr. Keyes) Please identify for me the
    20   want to include it in the narrative that we send        20   positions that were created and funded by the
    21   with the quarterly forecast, but I don't receive it     21   Cuyahoga County government because of the opioid
    22   on awe routine basis.                                   22   problem?
    23      Q What nonpersonnel costs have been incurred         23          MR. BADALA: Objection to form.
    24   by the medical examiner's office because of the         24       A Off the top of my head, and this would not
    25   opioid problem?                                         25   in any way be an exhaustive list. We have created

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                                                        Page 170                                                        Page 172
     1   new positions in the Children and Family Services of       1   worker positions. How many of them are attributed
     2   Social Workers. We have hired additional correction        2   to the opiate problem I can't specifically say.
     3   officers, we have hired, as I said, an additional          3   Again, I'm not in the business, the county is not in
     4   pathologist. Other than that, I'd have to review           4   the business of doing that kind of computation.
     5   hiring requests, but I know those specifically, but        5             So we are relying on the experts to
     6   that should not be interpreted as an exhaustive            6   do that for us. I just know what we spent.
     7   list.                                                      7       Q How many additional social worker
     8       Q (Mr. Keyes) And you said earlier the one             8   positions were created and funded for the Division
     9   pathologist was hired in 2017?                             9   of Children and Family Services in 2018?
    10       A There was one hired in 2017, that is                10       A Um, I believe it was 12.
    11   correct.                                                  11       Q How many of those 12 additional social
    12       Q How many correction officer positions did           12   worker positions were created and funded for the
    13   Cuyahoga County government create and fund because        13   Division of Children and Family Services because of
    14   of the opioid problem?                                    14   the opioid problem?
    15       A I can't answer that question.                       15       A I believe I just answered that. I can't
    16       Q When did Cuyahoga County government create          16   say how many of the positions are created are
    17   and fund additional correction officers positions         17   directly attributed to the opiate.
    18   because of the opioid problem?                            18       Q How many social worker positions were
    19       A The county hired additional correction              19   created and funded for the Division of Children and
    20   officers in 2017 and 2018.                                20   Family Services in 2017?
    21             Now retrospectively, I cannot say               21       A I'm not aware of enough positions being
    22   whether the figures identified in Exhibit 2 include       22   created in 2017. I believe we were relying on
    23   correction officers. The county will increase the         23   overtime.
    24   number of correction staff based on the ADP. So,          24       Q So is it accurate to say that no --
    25   again, I'm sorry, the average daily population. So        25       A Sorry, in 2017 we were cut, we were in the
                                                        Page 171                                                        Page 173
     1   if that increases, of course we have to hire               1   second year of a budget. We had cut the budget,
     2   additional correction officers.                            2   2016 and '17 budget. In 2017 we were working on the
     3       Q How many additional positions for                    3   '18/'19 budget. And everybody was told if you need
     4   correction officers did Cuyahoga County government         4   something, basically don't even ask because we were
     5   create and fund in 2018?                                   5   seeking cuts from all the agencies due to projected
     6       A I can't answer that off the top of my                6   operating deficits our costs are increasing. So I
     7   head.                                                      7   don't believe that we created new positions in 2017.
     8       Q How many additional positions for                    8      Q Okay. I want to make sure I understand
     9   correction officers did Cuyahoga County government         9   your answer.
    10   create and fund in 2017?                                  10             Is it your testimony that no
    11       A 25.                                                 11   additional social worker positions were created and
    12       Q And were all 25 of those additional                 12   funded for the Division of Children and Family
    13   positions for correction officers that Cuyahoga           13   Services in 2017?
    14   County government created and funded in 2017 because      14      A That's my understanding.
    15   of the opioid problem?                                    15      Q How many additional social worker
    16       A I can't answer that question.                       16   positions were created and funded for the Division
    17       Q How many additional positions for                   17   of Children and Family Services in 2016?
    18   correction officers did Cuyahoga County government        18      A I can't say. I can't recall off the top
    19   create and fund before 2017 because of the opioid         19   of my head.
    20   problem?                                                  20      Q Any?
    21       A I can't answer that question.                       21      A I don't know.
    22       Q How many social workers did the Division            22      Q Before 2017, did Cuyahoga County
    23   of Children and Family Services create and fund in        23   government create any additional social worker
    24   2018 because of the opioid problem?                       24   positions for the Division of Children and Family
    25       A In 2018, the county did create new social           25   Services because of the opioid problem?

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                                                      Page 174                                                    Page 176
     1       A Well, before 2017, we wouldn't have done           1   the total amount spent by the Division of Children
     2   it at the time knowingly because of the opiate           2   and Family Services for the overarching opiate
     3   problem. Because in those years before 2017, we          3   epidemic.
     4   didn't know what we were dealing with.                   4      Q (Mr. Keyes) What are the total dollars by
     5               So whether we created new positions          5   Cuyahoga County in any year in the prosecutor,
     6   in the Department of Division and Children Family        6   public defender, or the Court of Common Pleas
     7   Services, I can't say.                                   7   agencies in providing services to individuals who
     8               But I can say that we would have just        8   are in the criminal justice system because of their
     9   requested any positions as a result of rising            9   use or misuse of prescription opioids?
    10   caseloads.                                              10          MR. BADALA: Objection to form.
    11       Q Is it your testimony that before 2017,            11      A I don't have that level of detail.
    12   Cuyahoga County government did not create any           12      Q (Mr. Keyes) What are the total dollars
    13   additional social worker positions for the Division     13   spent by Cuyahoga County in the juvenile court
    14   of Children and Family Services because of the          14   agency because of juveniles, or their family
    15   opioid problem?                                         15   members, use or misuse of prescription opioids?
    16           MR. BADALA: Objection to form,                  16          MR. BADALA: Objection to form.
    17   mischaracterizes testimony.                             17      A I don't have that detail.
    18       A That's not my testimony. So I'm saying A,         18      Q (Mr. Keyes) Are the total dollars spent
    19   I can't recall if we created new positions prior to     19   by the sheriff's office, either the sheriff's
    20   2017 in that division specifically. And I'm saying      20   division, law enforcement division or the jail
    21   that certainly before 2016, any new positions           21   division spending, I'm sorry, strike that.
    22   created would have been as a result of rising           22              What are the total dollars spent by
    23   caseloads. It wouldn't have been requested because      23   the law enforcement or jail divisions of the
    24   of the opiate epidemic.                                 24   sheriff's agency in providing services to
    25       Q (Mr. Keyes) Because your testimony is             25   individuals who have been charged with or convicted
                                                      Page 175                                                    Page 177
     1   that before 2016, Cuyahoga County was unaware of         1   of crimes involving use or misuse of prescription
     2   their being an opioid problem, correct?                  2   opioids?
     3          MR. BADALA: Objection to form.                    3          MR. BADALA: Objection to form.
     4      A That's correct.                                     4       A I don't have that level of detail. I will
     5      Q (Mr. Keyes) What are the total dollars              5   point out that it is possible for us to have an
     6   spent by Cuyahoga County in any year in providing        6   inmate in our facility who has an addiction to
     7   services to people who have an opioid use disorder       7   prescription opiates or any kind of opiates who is
     8   because of their use of prescription opioids?            8   not being charged with a drug crime.
     9          MR. BADALA: Objection to form.                    9       Q (Mr. Keyes) What are total dollars spent
    10      A I can't identify that. What the county             10   by law enforcement or jail divisions of the
    11   has identified is the total dollars spent related to    11   sheriff's agency in providing medical services to
    12   the opiate epidemic. But as I mentioned before,         12   individuals who are in the system and have an opioid
    13   that includes prescription opiates, but that would      13   use disorder because of their use or misuse of
    14   also tie in Fentanyl is a prescription, carfentanil     14   prescription opioids?
    15   and heroin.                                             15          MR. BADALA: Objection to form.
    16              So I can't piece out for you of these        16       A I don't have that level of detail.
    17   totals, how much is prescription, how much is every     17       Q (Mr. Keyes) What are the total dollars
    18   other category.                                         18   spent by the medical examiner's office in providing
    19      Q (Mr. Keyes) What are the total dollars             19   services in connection with deaths that are
    20   spent by Cuyahoga County in any year in providing       20   attributable to the use or misuse of prescription
    21   services through the Division of Children and Family    21   opioids?
    22   Services to children or families that involved the      22          MR. BADALA: Objection to form.
    23   parents use or misuse of prescription opioids?          23       A Again, I don't have that level of detail.
    24          MR. BADALA: Objection to form.                   24   The county recognizes the opiate epidemic all
    25      A Again, I can't break out that. So we have          25   derives from prescription opiates.

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                                                     Page 178                                                      Page 180
     1       Q (Mr. Keyes) Do you have a factual basis           1       Q That position is based on what the lawyers
     2   for Cuyahoga County's position that the opioid          2   have said, what the experts for the lawyers have
     3   epidemic is attributable to prescription opioids?       3   said, and what Mr. Gilson has said, correct?
     4          MR. BADALA: Objection to form.                   4          MR. BADALA: Objection to form.
     5       A I'm sorry, can you repeat the question?           5       A That's correct.
     6       Q (Mr. Keyes) Sure. Do you have a factual           6       Q (Mr. Keyes) Do you have any other basis
     7   basis for the position that you just stated of          7   besides what the county's experts in this case have
     8   Cuyahoga County that the opioid epidemic is             8   said, the county's lawyers have said or Mr. Gilson
     9   attributable to prescription opioids?                   9   have said?
    10          MR. BADALA: Objection to form.                  10          MR. BADALA: Objection to form, outside
    11       A Um, that assertion is based in part on our       11   the scope.
    12   medical examiner, Dr. Gilson, who has been actively    12       A The county defers to experts.
    13   involved in this for sometime. And the county is       13       Q (Mr. Keyes) But you haven't talked to any
    14   deferring to its attorneys and the experts as well.    14   of the experts, right?
    15       Q (Mr. Keyes) Have you spoken with the             15       A But I think I'm speaking for the county
    16   experts about this?                                    16   and the county is deferring to the experts that have
    17       A No, I have not.                                  17   been retained to assist us.
    18       Q Have you spoken with the lawyers about           18       Q Okay. So what does the county know by
    19   this?                                                  19   talking to experts about this?
    20       A About?                                           20          MR. BADALA: Objection to form.
    21          MR. BADALA: Hold on. I'm going to object        21       A The county confers with its attorneys,
    22   and instruct you not to disclose any conversations     22   which I'm not going to disclose what the county
    23   with the lawyers.                                      23   discusses with its attorneys.
    24       Q (Mr. Keyes) Have you spoken with                 24       Q (Mr. Keyes) I didn't ask about the
    25   Dr. Gilson about this, this position that the opioid   25   lawyers, I said I asked about the experts.
                                                     Page 179                                                      Page 181
     1   epidemic is attributable to prescription opioids?       1      A    The county confers with.
     2      A Um, I can't confirm that I have had a              2          MR. BADALA: Hold on, give me a second.
     3   specific discussion with him, but Dr. Gilson has, so    3   Objection to form, outside the scope. Just give me
     4   the directors that work under the authority of the      4   a second, I'm sorry.
     5   county executive. We have bimonthly director            5       Q (Mr. Keyes) You said the county defers to
     6   meetings and Dr. Gilson is a standing agenda item,      6   the experts. You are telling me that position,
     7   has been for a couple years, to talk about the          7   right?
     8   opiate epidemic. So he has communicated that stance     8       A That's correct.
     9   through those director meetings, which I attend.        9       Q I asked you the basis for the position and
    10      Q So let me make sure I understand your             10   you said Gilson county lawyers and county experts?
    11   factual basis for what you say is Cuyahoga County's    11       A That's correct.
    12   position that the opioid epidemic is attributable to   12       Q And when you are at some pointing to the
    13   prescription opioids. And you said, it is based on     13   experts, have you talked to any of the experts?
    14   what Dr. Gilson has said, what Cuyahoga County's       14          MR. BADALA: Objection to form, outside
    15   lawyers have said, and what Cuyahoga County's          15   the scope.
    16   experts have said, correct?                            16       A No, I have not.
    17          MR. BADALA: Objection to form.                  17       Q (Mr. Keyes) So what you know about what
    18      Q (Mr. Keyes) Is that correct?                      18   the experts say is through the lawyers?
    19      A I think that might be slightly                    19          MR. BADALA: Objection to form, I'm going
    20   misrepresenting because Cuyahoga County is not         20   to instruct you not to respond to that, don't answer
    21   saying that there is not a problem with heroin or      21   that question. It is privilege what our discussions
    22   carfentanil or any other kind of illicit opiate that   22   with her and the lawyers, that's privileged.
    23   I don't know the name of. The county's stance is       23       Q (Mr. Keyes) My question was --
    24   that those issues stem from the use of prescription    24          MR. BADALA: That was your question.
    25   opiate.                                                25       Q (Mr. Keyes) What you know about what the

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                                                    Page 182                                                  Page 184
     1   experts say is through the lawyers. That's a yes or    1          MR. BADALA: Hold on one second. Anyone
     2   no question. If the answer is no, there's no           2   on the defense side have any questions?
     3   privilege. If the answer is yes, I'm not going to      3          How about anyone on the phone, anyone have
     4   ask about it either way. I'm entitled to a yes or      4   any questions?
     5   no.                                                    5          Let's take a quick two minute break.
     6          MR. BADALA: I am going to object and            6          THE VIDEOGRAPHER: 1:32 going off the
     7   instruct you not to respond to that question.          7   record.
     8       Q (Mr. Keyes) Separate from what you have          8               (Off the record.)
     9   learned from the lawyers, do you have any idea what    9          THE VIDEOGRAPHER: It is 1:40. We are
    10   the experts for Cuyahoga County say in this case?     10   back on the record.
    11          MR. BADALA: Objection to form.                 11                 EXAMINATION
    12       A No, I have not communicated with the            12   BY MR. BADALA:
    13   experts.                                              13       Q Miss Keenan, I just have a couple
    14       Q (Mr. Keyes) So the county's position that       14   follow-up questions for you.
    15   the opioid epidemic is attributable to prescription   15             When did the county first become
    16   opioids is based on what the county has heard from    16   aware that there was a heroin epidemic in Cuyahoga
    17   the lawyers about what the experts say, plus what     17   County?
    18   Dr. Gilson has said, correct?                         18       A I want to be clear that the county
    19          MR. BADALA: I'm going to object again,         19   recognizes an opiate epidemic that includes
    20   and as for the lawyer, I'm going to tell you not to   20   prescription opiates, heroin, Fentanyl and
    21   confirm or deny that's privileged communication.      21   carfentanil. The county realized that we were in
    22   You can talk about your communication with            22   the midst of an epidemic in 2016.
    23   Dr. Gilson, but not with the lawyers.                 23          MR. BADALA: I have no further questions
    24       A I certainly have discussed the                  24          THE VIDEOGRAPHER: It is 1:41. Going off
    25   communication with Dr. Gilson. He regularly reports   25   the record.
                                                    Page 183                                                  Page 185
     1   out to all the county leadership.                    1           (End of video deposition.)
     2      Q (Mr. Keyes) So you are relying on what          2
     3   Dr. Gilson has said?                                 3
     4      A Not exclusively.                                4
     5      Q You are relying on what Dr. Gilson has          5
     6   said and what you have learned from the lawyers.     6
     7          MR. BADALA: Again, I'm going to instruct      7
     8   you not to respond regarding the lawyers. You can    8
     9   respond regarding Dr. Gilson.                        9
    10          MR. KEYES: I'm trying to understand the      10
    11   basis of your position. What is the basis of your   11
    12   position besides what you have heard from lawyers. 12
    13   I'm not allow to probe that, so I'm not asking what 13
    14   you've heard from lawyers.                          14
    15          MR. BADALA: She has told you three times, 15
    16   Dr. Gilson.                                         16
    17      Q (Mr. Keyes) What is the basis, Gilson and      17
    18   anything else?                                      18
    19          MR. BADALA: Again, besides the lawyers if 19
    20   there was anything.                                 20
    21      A That's it.                                     21
    22      Q (Mr. Keyes) That's it.                         22
    23      A Yes.                                           23
    24      Q Thank you.                                     24
    25          MR. KEYES: I have no further questions.      25
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     3   County of Cuyahoga                                       3                  Phone: 216-523-1313
     4       I, Randy R. Dunn, a Licensed Certified Court         4
                                                                      January 23, 2019
     5   Reporter by the Supreme Court in and for the State       5
     6   of Missouri, duly commissioned, qualified and                To: Salvatore C. Badala
                                                                  6
     7   authorized to administer oaths and to certify to             Case Name: In Re: National Prescription Opiate Litigation v.
     8   depositions, do hereby certify that pursuant to          7
                                                                      Veritext Reference Number: 3182085
     9   Notice in the civil cause now pending and                8
                                                                    Witness: Maggie Keenan           Deposition Date: 1/18/2019
    10   undetermined in the County of Cuyahoga, State of         9
    11   Ohio, to be used in the trial of said cause in said     10 Dear Sir/Madam:
                                                                 11
    12   court, I was attended at the offices of Climaco,           Enclosed please find a deposition transcript. Please have the witness
    13   Wilcox, Peca, Tarantino & Garofoli, 55 Public           12
                                                                    review the transcript and note any changes or corrections on the
    14   Square, Suite 1950 in the City of Cleveland, State      13
    15   of Ohio, by the aforesaid attorneys; on the 18th day       included errata sheet, indicating the page, line number, change, and
                                                                 14
    16   of January , 2019.                                         the reason for the change. Have the witness’ signature notarized and
                                                                 15
    17       The said witness, being of sound mind and being        forward the completed page(s) back to us at the Production address
    18   by me first carefully examined and duly cautioned       16 shown
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    19   and sworn to testify the truth, the whole truth, and    18
    20   nothing but the truth in the case aforesaid,               If the errata is not returned within thirty days of your receipt of
                                                                 19
    21   thereupon testified as is shown in the foregoing           this letter, the reading and signing will be deemed waived.
    22   transcript, said testimony being by me reported in      20
                                                                 21 Sincerely,
    23   shorthand and caused to be transcribed into             22 Production Department
    24   typewriting, and that the foregoing page correctly      23
                                                                 24
    25   set forth the testimony of the aforementioned           25 NO NOTARY REQUIRED IN CA

                                                      Page 187                                                                        Page 189
                                                                  1           DEPOSITION REVIEW
     1   witness, together with the questions propounded by                  CERTIFICATION OF WITNESS
     2   counsel and remarks and objections of counsel            2
                                                                    ASSIGNMENT REFERENCE NO: 3182085
     3   thereto, and is in all respects a full, true,            3 CASE NAME: In Re: National Prescription Opiate Litigation v.
     4   correct and complete transcript of the questions           DATE OF DEPOSITION: 1/18/2019
                                                                  4 WITNESS' NAME: Maggie Keenan
     5   propounded to and the answers given by said witness;     5     In accordance with the Rules of Civil
                                                                    Procedure, I have read the entire transcript of
     6      I further certify that I am not of counsel or         6 my testimony or it has been read to me.
     7   attorney for either of the parties to said suit, not     7     I have made no changes to the testimony
                                                                    as transcribed by the court reporter.
     8   related to                 in aany
                  o nor interested in    ny of the parties or     8
     9   their attorneys.
                  orneys.                                           _______________          ________________________
                                                                  9 Date                 Maggie Keenan
    10                                                           10     Sworn to and subscribed before me, a
                                                                    Notary Public in and for the State and County,
    11           <%16514,Signature%>                             11 the referenced witness did personally appear
    12       Randy R. Dunn RPR, CRR, CCR No. 193                    and acknowledge that:
                                                                 12
    13                                                                  They have read the transcript;
    14                                                           13     They signed the foregoing Sworn
                                                                        Statement; and
    15                                                           14     Their execution of this Statement is of
                                                                        their free act and deed.
    16                                                           15
    17                                                                  I have affixed my name and official seal
                                                                 16
    18                                                              this ______ day of_____________________, 20____.
    19                                                           17
                                                                            ___________________________________
    20                                                           18         Notary Public
                                                                 19         ___________________________________
    21                                                                      Commission Expiration Date
    22                                                           20
                                                                 21
    23                                                           22
    24                                                           23
                                                                 24
    25                                                           25

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                                                                           Page 190
     1          DEPOSITION REVIEW
               CERTIFICATION OF WITNESS
     2
       ASSIGNMENT REFERENCE NO: 3182085
     3 CASE NAME: In Re: National Prescription Opiate Litigation v.
       DATE OF DEPOSITION: 1/18/2019
     4 WITNESS' NAME: Maggie Keenan
     5     In accordance with the Rules of Civil
       Procedure, I have read the entire transcript of
     6 my testimony or it has been read to me.
     7     I have listed my changes on the attached
       Errata Sheet, listing page and line numbers as
     8 well as the reason(s) for the change(s).
     9     I request that these changes be entered
       as part of the record of my testimony.
    10
           I have executed the Errata Sheet, as well
    11 as this Certificate, and request and authorize
       that both be appended to the transcript of my
    12 testimony and be incorporated therein.
    13 _______________           ________________________
       Date                  Maggie Keenan
    14
           Sworn to and subscribed before me, a
    15 Notary Public in and for the State and County,
       the referenced witness did personally appear
    16 and acknowledge that:
    17     They have read the transcript;
           They have listed all of their corrections
    18     in the appended Errata Sheet;
           They signed the foregoing Sworn
    19     Statement; and
           Their execution of this Statement is of
    20     their free act and deed.
    21     I have affixed my name and official seal
    22 this ______ day of_____________________, 20____.
    23         ___________________________________
               Notary Public
    24
               ___________________________________
    25         Commission Expiration Date

                                                       Page 191
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     2          ASSIGNMENT NO: 1/18/2019
     3   PAGE/LINE(S) /    CHANGE       /REASON
     4   ___________________________________________________
     5   ___________________________________________________
     6   ___________________________________________________
     7   ___________________________________________________
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    12   ___________________________________________________
    13   ___________________________________________________
    14   ___________________________________________________
    15   ___________________________________________________
    16   ___________________________________________________
    17   ___________________________________________________
    18   ___________________________________________________
    19
       _______________     ________________________
    20 Date             Maggie Keenan
    21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
    22 DAY OF ________________________, 20______ .
    23       ___________________________________
             Notary Public
    24
             ___________________________________
    25       Commission Expiration Date

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